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                  EXHIBIT 1
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                                                              EXECUTION VERSION




                               PURCHASE AGREEMENT

                                     by and among

                                LUXX LIGHTING, INC.,

                                BRANDON BURKHART,

                                 IVAN VAN ORTWICK

                                          and

                            HAWTHORNE HYDROPONICS LLC



                              Dated as of December 29, 2021




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                                      PURCHASE AGREEMENT


                This Purchase Agreement, dated as of December 29, 2021 (this “Agreement”), is
by and among Luxx Lighting, Inc., a California corporation (the “Seller”), Brandon Burkhart
(“Burkhart”), Ivan Van Ortwick (“Van Ortwick”) and Hawthorne Hydroponics LLC, a Delaware
limited liability company (“Buyer” and together with Seller, Burkhart and Van Ortwick, the
“Parties”).

                                            RECITALS

              WHEREAS, Seller is engaged in the business of developing, manufacturing,
marketing and distributing lighting products for horticultural uses (the “Business”);

                WHEREAS, Seller desires to sell to Buyer, and Buyer desires to purchase or cause
one or more of its Affiliates to purchase, as applicable, from Seller, substantially all of the assets
and specified liabilities of the Business, subject to the terms and conditions set forth herein; and

                NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the Parties, intending to be legally bound hereby, agree as
follows:

                                            ARTICLE I

                       DEFINITIONS AND RULES OF CONSTRUCTION

        Section 1.1.        Definitions.

              (a)     Whenever used in this Agreement, the following words and phrases will,
when capitalized, have the respective meanings ascribed to them as follows:

                “Action” means any demand, dispute, charge, claim, action, suit, countersuit,
arbitration, mediation, hearing, inquiry, proceeding, audit, review, complaint, litigation or
investigation, sanction, summons, subpoena, examination, citation, audit, review or proceeding of
any Governmental Authority.

               “Affiliate” means, with respect to any Person, any other Person that directly, or
indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, the Person specified. The term “control” (including the terms “controlling,”
“controlled by” and “under common control with”) means the possession, directly or indirectly, of
the power to direct or cause the direction of the management, policies and affairs of a Person,
whether through the ownership of voting securities, by Contract or otherwise.

                 “Assumed Current Assets” means all Purchased Assets that are Current Assets.

                 “Assumed Current Liabilities” means all Assumed Liabilities that are Current
Liabilities.


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              “Burkhart Marketing Agreement” means the agreement, substantially in the
form attached as Exhibit A hereto.

               “Business Day” means any day, other than Saturday and Sunday, on which
federally-insured commercial banks in New York, New York are open for business (and not
required or authorized to be closed) and capable of sending and receiving wire transfers.

                “Business Intellectual Property” means all of Seller’s right, title and interests in
Intellectual Property that is now, and/or at the time of the Closing will be, owned, used or held for
use in or otherwise necessary for the conduct of, the Business, including all the Intellectual
Property listed in Section 3.19 of the Disclosure Schedule.

                “Business Material Adverse Effect” means any event, change, development,
effect, condition, circumstance, matter, occurrence or state of facts that, individually or in the
aggregate, has a material adverse effect on the business, operations or financial condition of the
Business taken as a whole; provided, that none of the following events, changes, developments,
effects, conditions, circumstances, matters, occurrences or states of facts shall be taken into
account in determining whether there has been or may be a Business Material Adverse Effect: (a)
any change or development in United States financial or securities markets, general economic or
business conditions or political or regulatory conditions in the United States, (b) any act of war,
armed hostilities or terrorism, (c) any change or development in the industry in which the Business
operates, (d) any change in Law or the enforcement thereof or in GAAP or the interpretation
thereof, (e) the public announcement or pendency of the transactions contemplated by this
Agreement or the Transaction Documents, or (f) any change resulting from any action taken or
omitted to be taken by or at the written request or consent of Buyer, except in the case of clauses
(a), (b), (c) or (d) to the extent such events, changes, developments, effects, conditions,
circumstances, matters, occurrences or states of facts have a disproportionate effect on the
Business relative to other Persons engaged in the industry in which the Business operates.

                “Business Product Registrations” means all Product Registrations used or held
for use or contemplated to be used or held for use in connection with the marketing and sale of the
Business Products to the end-user.

               “Business Products” means all of the products of the Business that have been or
are currently sold, licensed, distributed or otherwise made available to customers, as applicable,
including the Registered Products and any products currently under development or scheduled for
commercial release within 90 days of the date of this Agreement or otherwise scheduled to be
provided to customers.

               “Buyer Material Adverse Effect” means a material adverse effect on the ability
of Buyer to consummate the transactions contemplated hereby and fulfill its obligations under this
Agreement.

               “Cannabis” means (i) all living or dead material, plants, seeds, plant parts or plant
cells from any cannabis species or subspecies other than hemp, including wet and dry material,
trichomes, oil and extracts from cannabis other than hemp (including cannabinoid or terpene
extracts from any cannabis plant other than hemp), and (ii) biologically or synthetically

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synthesized analogs of cannabinoids extracted, using micro-organisms, from any cannabis plant
other than hemp.

               “Closing Date Customer Deposits” means Customer Deposits as of the end of
the Business Day immediately preceding the Closing Date.

               “Closing Date Net Working Capital” means the Net Working Capital of Seller
calculated as of the end of the Business Day immediately preceding the Closing Date.

                 “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985,
as amended.

                 “Code” means the Internal Revenue Code of 1986.

               “Confidential Data” means information, including Personal Data, in whatever
form that Seller is obligated, by Law or Contract, to protect from unauthorized access, use,
disclosure, modification or destruction together with any data owned or licensed by Seller that is
not intentionally shared with the general public or that is classified by Seller with a designation
that precludes sharing with the general public.

                “Confidential Data Processor” means any Person other than an employee of Seller
(or the applicable Data Subject) that Processes or has access to any Data Processed by or on behalf
of Seller.

                 “Confidential Information” has the meaning set forth in the Confidentiality
Agreement.

             “Confidentiality Agreement” means the Mutual Confidentiality Agreement
between Hawthorne Hydroponics LLC and Seller, effective as of February 1, 2021.

                 “Contract” means any agreement, contract, plan, undertaking, instrument, note,
bond, mortgage, indenture, deed of trust, loan, credit agreement, franchise concession, Permit,
license, lease, purchase order, sales order or other similar commitment, obligation, arrangement or
understanding, whether written or oral.

               “Current Assets” means, as of a particular date and without duplication, amounts
which would, in conformity with GAAP, be included under and classified as current assets on a
consolidated balance sheet of Seller, provided, however, that (a) the amount of Receivables from
Seller’s consolidated balance sheet will be reduced to an amount equal to Eligible Receivables, (b)
the amount of Inventory from Seller’s consolidated balance sheet will be reduced to an amount
equal to Eligible Inventory, and (c) Current Assets will exclude cash and any assets associated
with federal, state, local or foreign income based Taxes. Current Assets will be calculated in
accordance with Exhibit E.

                 “Current Liabilities” means, as of a particular date and without duplication,
amounts which would, in conformity with GAAP, be included under and classified as current
liabilities on a consolidated balance sheet of Seller, including (a) all of Seller’s obligations with
respect to accounts payable associated with the corresponding Business obligations of Seller and

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(b) all accrued, but unpaid, expenses; provided, however, that Current Liabilities will exclude
liabilities associated with federal, state, local or foreign income based Taxes. Current Liabilities
will be calculated in accordance with Exhibit E.

                 “Customer Deposits” has the meaning set forth on Exhibit E.

                “Customer Orders” means all bona fide purchase orders that have been received
by Seller for the shipment of goods or services prior to and as of the Closing Date.

               “Customs and Import Laws” means the Laws pertaining to imports and customs,
including, but not limited to, those administered by the U.S. Bureau of Customs and Border
Protection, U.S. Department of Homeland Security (and any successor thereof) (“CBP”) or similar
Governmental Authorities of other countries in which the Seller has conducted and/or currently
conducts business, or from which the Seller imports any goods, and any regulation, order, or
directive promulgated, issued or enforced pursuant to such Laws.

                 “Data” means Confidential Data or Personal Data.

                “Data Subject” means any “person,” “individual,” or “data subject” as defined by
the applicable Information Privacy Laws.

              “Disclosure Schedule” means that schedule of disclosures made by Seller and
annexed hereto as Schedule 1.

                 “Eligible Inventory” has the meaning set forth on Exhibit E.

                 “Eligible Receivables” has the meaning set forth on Exhibit E.

                “Employees” means (a) each person who as of immediately prior to the Closing is
an active employee of Seller and (b) each employee of Seller who is on short-term disability, long-
term disability or approved leave of absence as of immediately prior to the Closing and who returns
to work within three months after the Closing Date.

               “Encumbrances” means any and all liens, charges, security interests, mortgages,
pledges, options, preemptive rights, rights of first refusal or first offer, proxies, levies, voting trusts
or agreements, or other adverse claims or restrictions on, or imperfections of, title or transfer of
any nature whatsoever (including any Encumbrances arising from any Liability for Taxes).

               “Environment” means soil, surface waters, groundwater, drinking water, natural
resources, land, stream sediments, surface or subsurface strata, ambient air, indoor air, any material
or substance used in the physical structure of any building or improvement and any environmental
medium.

               “Environmental Condition” means any condition of the Environment with respect
to (a) the Real Property arising, existing or occurring on or prior to the Closing, (b) any real
property previously owned, leased or operated by Seller or any of its Affiliates in connection with
the Business to the extent such condition of the Environment existed or occurred at the time of
such ownership, lease or operation, or (c) any other real property at which any Hazardous

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Substance generated by the operation of the Business prior to the Closing has been treated, stored,
recycled, disposed of, or has otherwise come to be located, that violates any Environmental Law
or that results in any Release, threat of Release, Loss or Liability.

               “Environmental Law” means any Law relating to (a) human health or safety
(including public or workplace health and safety), (b) protection of the Environment, (c) Releases
of Hazardous Substances, (d) injury, harm or adverse health effects to Persons relating to exposure
to Hazardous Substances, or (e) the treatment, storage, recycling, handling, use, generation,
manufacture, sale, distribution, importation, exportation, labeling or reporting relating to
Hazardous Substances.

              “Environmental Loss” means any Loss arising out of or relating to Environmental
Laws, an Environmental Condition or Release of Hazardous Substance.

                 “ERISA” means the Employee Retirement Income Security Act of 1974.

               “ERISA Affiliate” means a Person required at any particular time to be aggregated
with any of Seller under Sections 414(b), (c), (m) or (o) of the Code or Section 4001 of ERISA.

                 “Excluded Inventory” means products comprising metal halide and ceramic metal
halide bulbs.

                 “FCPA” means the Foreign Corrupt Practices Act of 1977.

               “GAAP” means United States generally accepted accounting principles,
consistently applied.

                “Governmental Authority” means any international, supranational, national,
provincial, regional, federal, state, municipal or local government, any instrumentality,
subdivision, court, tribunal, judicial or arbitral body, administrative or regulatory agency or
commission or other authority thereof, or any quasi-governmental or private body exercising any
regulatory, taxing, importing or other governmental or quasi-governmental authority.

                “Hazardous Substance” means any pollutant, toxic substance, asbestos and
asbestos-containing materials, hazardous waste, hazardous material, hazardous substance,
contaminant, petroleum and petroleum-containing materials, radiation and radioactive materials,
leaded paints, toxic mold, polychlorinated biphenyls and other substances or materials as defined
in, the subject of, or which could give rise to Liability under, any Environmental Law.

                 “Indebtedness” means, with respect to any Person, (a) all obligations of such
Person for borrowed money (including reimbursement and all other obligations with respect to
surety bonds, letters of credit and bankers’ acceptances, whether or not matured), (b) all obligations
of such Person evidenced by notes, bonds, debentures or similar instruments, (c) all obligations of
such Person to pay the deferred purchase price of property or services, except trade accounts
payable and accrued commercial or trade Liabilities arising in the ordinary course of business, (d)
all interest rate and currency swaps, caps, collars and similar agreements or hedging devices under
which payments are obligated to be made by such Person, whether periodically or upon the
happening of a contingency, (e) all indebtedness created or arising under any conditional sale or

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other title retention agreement with respect to property acquired by such Person, (f) all obligations
of such Person under leases which have been or should be, in accordance with GAAP, recorded as
capital leases, (g) all indebtedness secured by any lien on any property or asset owned or held by
such Person regardless of whether the indebtedness secured thereby will have been assumed by
such Person or is non-recourse to the credit of such Person, (h) all guarantees by such Person of
the indebtedness of any other Person, (i) income Tax Liabilities and (j) all other obligations that
would be required to be reflected as debt in accordance with GAAP.

               “Information Privacy Laws” means any Laws pertaining to privacy, data
protection or data transfer, including all privacy and security breach disclosure Laws,
implementing laws, ordinances, permit, regulation, rule, code, governmental order, constitution,
treaty, common law, judgment, ruling, decree, other requirement or rule of law, in each case, of
any Governmental Authority, including, as applicable, the General Data Protection Regulation
(GDPR), the Health Insurance Portability and Accountability Act of 1996 (HIPAA), as amended,
and the Children’s Online Privacy Protection Act (COPPA) of 1998, as amended, the Telephone
Consumer Protection Act of 1991, as amended, the Do-Not-Call Implementation Act of 2003, as
amended, Section 5 of the Federal Trade Commission Act of 1914, as amended (as the same has
been interpreted to apply to privacy, data protection, breach disclosure or data transfer issues).

                “Intellectual Property” means all intellectual property, in any jurisdiction
worldwide, whether registered or unregistered, including (a) all trademarks, service marks, trade
names, logos, artwork, designs, slogans and symbols, corporate names, certification marks,
collective marks, d/b/a’s, internet domain names and websites, user names on social media
websites, business symbols, brand names and other indicia of origin, all applications and
registration for the foregoing and all goodwill associated therewith and symbolized thereby,
including all renewals of same, (b) all patents, patent applications and inventions, if any, including
any provisional, utility, continuation, continuation-in-part or divisional applications filed in the
United States or any other jurisdiction and all reissues thereof and all reexamination certificates
issuing therefrom, (c) all published and unpublished works of authorship, if any, whether
copyrightable or not (including data bases and other compilations of information), copyrights
therein and thereto, and registrations and applications therefor, and all renewals, extensions,
restorations and reversions thereof, (d) all confidential or proprietary information, trade secrets
and know-how, if any, including processes, schematics, business methods, formulae, drawings,
prototypes, models, designs, customer and supplier lists, advertising materials and other industry
information, (e) the rights of privacy and publicity and to sue for and recover damages, assert,
settle and/or release any claims or demands and obtain all other remedies and relief at Law or
equity for any past, present or future infringement or misappropriation of any of the Intellectual
Property, (f) all licenses, options to license and other contractual rights to use the Intellectual
Property, (g) all UPC Codes, and (h) all computer and electronic data processing programs and
Software and related documentation, existing research projects, Software presently under
development, and all Software concepts owned and all proprietary information, processes,
formulae and algorithms, used in the ownership, marketing, development, maintenance, support
and delivery of such Software, subject to all applicable licenses and rights to use such Software.

             “Intellectual Property Assignment Agreement” means the Intellectual Property
Assignment Agreement in the forms attached hereto as Exhibit B.


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               “International Trade Laws” means any applicable (i) Sanctions; (ii) U.S. export
control Laws (including, without limitation, the International Traffic in Arms Regulations (22 CFR
§§ 120-130, as amended), the Export Administration Regulations (15 CFR §§ 730-774, as
amended) and any regulation, order, or directive promulgated, issued or enforced pursuant to such
laws; (iii) Customs and Import Laws; (iv) the anti-boycott laws administered by the U.S.
Department of Commerce and the U.S. Department of the Treasury; and (v) export Laws of other
countries in which the Seller has conducted and/or currently conduct business.

              “Inventory” means all inventory, including finished goods, work-in-process,
packaging, parts, supplies and raw materials, other than Excluded Inventory.

             “IRS” means the United States Internal Revenue Service, or any successor
Governmental Authority.

               “Jungle Boys Marketing Agreement” means the agreement, substantially in the
form attached as Exhibit C hereto.

               “Law” means any federal, provincial, state, local, municipal, foreign, national,
supranational, international, multinational or other administrative order, constitution, law,
ordinance, principle of common law, regulation, statute, treaty, rule, code or other requirement
imposed by a Governmental Authority.

               “Liability” means any direct or indirect, primary or secondary, liability,
Indebtedness, obligation, penalty, cost or expense (including costs of investigation, collection and
defense), claim, deficiency, guaranty or endorsement of or by any Person of any type, secured or
unsecured, whether accrued, fixed, absolute or contingent, direct or indirect, asserted or
unasserted, due or to become due, whenever or however arising (including contract, tort,
negligence or strict liability), liquidated or unliquidated, matured or unmatured, known or
unknown or otherwise.

                “Losses” means any and all damages, fines, fees, penalties, deficiencies, Liabilities,
claims, losses (including loss of value), demands, judgments, settlements, actions, obligations and
costs and expenses (including interest, court costs and fees and costs of attorneys, accountants and
other experts or other expenses of litigation or other proceedings or of any claim, default or
assessment).

              “Marketing Content Plan” means the agreement, substantially in the form
attached as Exhibit D hereto.

                “Net Working Capital” means, as of a specified date, and calculated in accordance
with Exhibit E, (a) the sum of Assumed Current Assets less (b) Assumed Current Liabilities;
provided, that such calculation will exclude (i) any income Tax Liabilities or income Tax assets,
(ii) any property or item of value received in connection with any transfer of any Excluded Assets
(other than any Assumed Current Assets or cash so received, which will be included in the
calculations), and (iii) any gain or loss relating to or resulting from any hedging agreement.

                 “Nicholls” means Brent Nicholls.


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                “Open Source Materials” refers to any Software or other material that is
distributed as “free software,” “open source software” or under similar licensing or distribution
terms (including the GNU General Public License (GPL), GNU Lesser General Public License
(LGPL), Mozilla Public License (MPL), Berkeley Source Distribution (BSD) licenses, the Artistic
License, the Netscape Public License, the Sun Community Source License (SCSL), the Sun
Industry Standards License (SISL), the Apache License, and any license identified as an open
source license by the Open Source Initiative (www.opensource.org)).

            “Parent Stock” means shares of Common Stock of The Scotts Miracle-Gro
Company (NYSE: SMG), par value $0.0001 per share.

               “Parent Stock Consideration” means a number of shares of Parent Stock equal to
the Parent Stock Consideration Amount, divided by the Parent Stock Price, rounded down to the
nearest whole share.

              “Parent Stock Consideration Amount” means an amount equal to 10% of the
Purchase Price.

               “Parent Stock Price” means the product of (a) the volume weighted average price
of the Parent Stock over the ten (10) day trading period ending three (3) trading days prior to
Closing and (b) 105%.

                 “Pattison” means Morgan Pattison.

                “Pattison Consulting Agreement” means the agreement providing for consulting
services of Pattison to Buyer, in a form satisfactory to Buyer.

               “Permit” means any permit, license, franchise, approval, consent, registration,
clearance, variance, exemption, order, certificate or authorization by, of or to any Governmental
Authority.

                “Permitted Encumbrances” means (a) liens for Taxes not yet due and payable,
(b) such non-monetary imperfections of title, if any, which do not materially detract from the value
or materially interfere with the present use of the property subject thereto or affected thereby, (c)
statutory liens to secure obligations to landlords, lessors or renters under leases or rental
agreements, (d) statutory liens in favor of carriers, warehousemen, mechanics and materialmen, to
secure claims for labor, materials or supplies and other like liens arising or incurred in the ordinary
course of business for amounts which are not delinquent and which are not, individually or in the
aggregate, material and for which adequate reserves have been established, and (e) zoning,
entitlement, building and other land use regulations imposed by a Governmental Authority having
jurisdiction over the Real Property which are not violated by the current use and operation thereof.

                “Person” means any natural person, corporation, general partnership, limited
partnership, limited or unlimited liability company, proprietorship, joint venture, other business
organization, trust, union, association or Governmental Authority.

               “Personal Data” means any data or information relating to an identified or
identifiable natural person; an “identifiable person” is one who can be identified, directly or

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indirectly, including by reference to an identification number or to one or more factors specific to
his physical, physiological, mental, economic, cultural or social identity, including unique device
or browser identifiers, names, ages, addresses, telephone numbers, email addresses, social security
numbers, passport numbers, alien registration numbers, medical history, employment history,
and/or account information; and shall also mean “personal information”, “personal health
information” and “personal financial information” each as defined by applicable Laws relating to
the collection, use, sharing, storage, and/or disclosure of information about an identifiable
individual.

                “Personal Data Processor” means any person other than an employee of Seller (or
the applicable Data Subject) that Processes or has access to any Personal Data Processed by or on
behalf of Seller.

              “Personal Data Supplier” means any person (other than a Data Subject) that
provides Personal Data to Seller.

               “Prepaid Expenses” means all prepaid expenses, deferred charges, advance
payments, Security Deposits paid by or on behalf of Seller, reserves in connection with any
Permitted Encumbrances and similar items, excluding any such items arising from, related to, or
in connection with, any Excluded Assets. The Prepaid Expense categories and amounts as of the
Closing are set forth in Section 1.1.1 of the Disclosure Schedule.

                “Privacy Policy” means a policy of Seller (or a policy of a Personal Data Supplier
where Seller is obligated by Law or Contract to apply the terms of such policy of a Personal Data
Supplier) made available in connection with the collection of information provided by or on behalf
of individuals that is labelled as a “Privacy Policy,” is reached on a web site by a link that includes
the label “Privacy” or that is a written policy or disclosure that describes how information provided
by or on behalf of individuals will be held, used, processed or disclosed.

               “Process” means to acquire, use, transmit, record, organize, adapt, alter, transfer,
retrieve, consult, disclose, disseminate, combine or store Data.

                “Product Registrations” means any and all pending applications or filings and all
current registrations issued under any federal or state statute or other Law, letters of authorization,
and any and all labels, data, including but not limited to toxicology, chemistry and efficacy data,
studies, protocols, final reports and raw data, and other documentation and information used and/or
reasonably necessary to support such registrations and/or to support label or advertising claims.
Product Registrations also include applications and/or filings with any National Recognized
Testing Lab or otherwise to support product markings such as “UL” or “ETL.”

               “Real Property” means any and all real property and interests in real property of
Seller (together with all buildings, structures, fixtures and improvements thereon), including the
Leased Real Property, any real property leaseholds and subleaseholds, purchase options,
easements, licenses, rights to access and rights of way and any other real property otherwise
owned, occupied or used by Seller in connection with the Business

               “Receivables” means all of Seller’s accounts (including all health-care insurance
receivables), Contract rights, instruments (including promissory notes and other instruments
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evidencing Indebtedness owed to Seller by any Person other than any of their respective Affiliates),
chattel paper (whether tangible or electronic), general intangible assets relating to accounts, drafts
and acceptances, and all other forms of obligation owing to Seller arising out of, or in connection
with, the sale, lease or other disposition of Inventory or the rendition of services, all guarantees
and other security therefor, whether secured or unsecured.

               “Registered Products” means each of the end-user products sold by Seller set forth
on Section 1.1.2 of the Disclosure Schedule, which products are sold, as of the Closing, pursuant
to Product Registrations.

               “Release” means any releasing, spilling, leaking, pumping, pouring, emitting,
emptying, discharging, injecting, escaping, leaching, migrating, disposing, or dumping of a
Hazardous Substance into the Environment (including the abandonment or discarding of barrels,
containers and other closed receptacles containing any Hazardous Substance).

                “Representatives” with respect to any Person, means, collectively, such Person’s
directors, officers, managers, trustees, shareholders, members, partners, employees, agents,
counsel, accountants, financial advisors, consultants and other representatives.

               “Sanctions” means economic or financial sanctions, requirements or trade
embargoes imposed, administered or enforced from time to time by Governmental Authorities of
the United States (including, but not limited to, the Office of Foreign Assets Control (“OFAC”),
the U.S. Department of State and the U.S. Department of Commerce), the United Nations Security
Council, the European Union, Her Majesty’s Treasury or any other relevant Governmental
Authority.

                 “Sanctions Target” means any Person: (a) that is the subject or target of any
Sanctions; (b) named in any Sanctions-related list maintained by the U.S. Department of State; the
U.S. Department of Commerce, including the Bureau of Industry and Security’s Entity List and
Denied Persons List; or the U.S. Department of the Treasury, including the OFAC Specially
Designated Nationals and Blocked Persons List, the Sectoral Sanctions Identifications List, and
the Foreign Sanctions Evaders List; or any similar list maintained by the United Nations Security
Council, the European Union, Her Majesty’s Treasury or any other relevant Governmental
Authority; (c) located, organized or resident in a country, territory or geographical region which is
itself the subject or target of any territory-wide Sanctions (a “Sanctioned Jurisdiction”)
(including, without limitation, the Crimea region of Ukraine, Cuba, Iran, North Korea, Syria and,
prior to January 17, 2017, Sudan); or (d) owned or controlled by any such Person or Persons
described in the foregoing clauses (a)-(c).

                 “Security Deposit” means any security deposits, whether deposited with or paid
by Seller or its Affiliates (including any tenant security or other similar deposit held by or on behalf
of a landlord in connection with any Leased Real Property and any tenant security or other similar
deposit held by or on behalf of Seller in connection with any sub-lease thereof).

               “Seller Material Adverse Effect” means a material adverse effect on the ability of
Seller to consummate the transactions contemplated hereby and fulfill their obligations under this
Agreement.

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              “Seller’s Knowledge” means, with respect to Seller, the facts and circumstances
that are known, after reasonably inquiry, or reasonably should have been known, had such
reasonable inquiry been undertaken, by Brandon Burkhart, Nicholls, Ivan Van Ortwick and
Amberlee Rails, pursuant to the discharge of their duties in the ordinary course.

               “Software” means all computer software and code, including assemblers, applets,
compilers, source code, object code, development tools, design tools, user interfaces, databases
and data, in any form or format, however fixed, including any related documentation.

                 “Subsidiary” means, with respect to any Person, any other Person (a) of which the
first Person owns directly or indirectly 50% or more of the equity interest in the other Person,
(b) of which the first Person or any other Subsidiary of the first Person is a general partner or
managing member, (c) of which securities or other ownership interests having ordinary voting
power to elect a majority of the board of directors or other persons performing similar functions
with respect to the other Person are at the time owned by the first Person and/or one or more of the
first Person’s Subsidiaries, or (d) whose financial results are required by GAAP to be consolidated
with the financial results of the first Person.

                 “Tangible Property” means all machinery, tools, equipment, computers, computer
equipment, servers, computer disks and peripheral devices, appliances, fixtures, motor vehicles,
trucks, forklifts and other rolling stock, spare parts and other tangible personal property (other than
Inventory, except for purposes of Section 3.17) including any assignable warranties related thereto,
in each case whether owned or leased by Seller or any of its Affiliates, that in the past 12 months
has been, is now, or at the time of the Closing will be, used or held for use in or otherwise necessary
for the conduct of, the Business.

                 “Target Net Working Capital” means $20,100,000.

                “Tax” and “Taxes” means all federal, state or local and all foreign taxes, including
income, gross receipts, windfall profits, value added, severance, property (including tangible,
intangible and real property), production, sales, use, duty, license, excise, goods and services,
commodity, capital gains, transfer, ad valorem, franchise, employment, withholding or similar
taxes, together with any interest, additions or penalties with respect thereto and any interest with
respect to such additions or penalties, and including any liability under state or local abandonment
or unclaimed property, escheat or similar Law.

               “Tax Return” means any return, declaration, report, claim for refund or
information return or statement relating to Taxes, including any schedule or attachment thereto,
and including any amendment thereof.

                “Taxing Authority” means any Governmental Authority or any subdivision,
agency, commission or authority thereof having jurisdiction over the assessment, determination,
collection or imposition of any Tax.

              “Transaction Documents” means this Agreement and each other agreement,
document, instrument or certificate contemplated hereby or thereby or to be executed by Seller or
Buyer in connection with the consummation of the transactions contemplated by this Agreement.


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              “Transition Services Agreement” means the agreement, substantially in the form
attached as Exhibit F hereto.

             “UPC Code” means any Universal Product Code, including any International
Article Numbers.

        Section 1.2.        Definitions defined in Agreement.

                 “Agreement” ......................................................... Preamble
                 “Asset Allocation Statement” ................................... 5.3(c)
                 “Assumed Liabilities” ................................................ 2.3(a)
                 “Basket Amount” ....................................................... 8.7(a)
                 “Benefit Plans” ....................................................... 3.7(a)(i)
                 “Bill of Sale”................................................................ 2.7(a)
                 “Burkhart” ........................................................... Preamble
                 “Business” ................................................................ Recitals
                 “Business Permits” ................................................... 3.11(d)
                 “Buyer”.................................................................. Preamble
                 “Buyer Fundamental Representations” ........................8.1
                 “Buyer Parties”................................................................8.3
                 “Buyer Plans” ......................................................... 5.6(b)(i)
                 “Buyer’s Closing Date Net Working Capital” ....... 2.10(c)
                 “Buyer’s Closing Date Customer Deposits” .......... 2.10(c)
                 “Cardholder Data” .................................................... 3.19(i)
                  “Claim”............................................................................8.4
                 “Classification” ........................................................... 2.5(b)
                 “Closing” ..........................................................................2.6
                 “Closing Amount” ...................................................... 2.8(a)
                 “Closing Date” .................................................................2.6
                 “Closing Date Balance Sheet” ................................. 2.10(a)
                 “Consent” .................................................................... 3.2(b)
                 “Continuation Period” ........................................... 5.6(b)(i)
                 “Dispute Notice” ....................................................... 2.10(b)
                 “Earn-Out Payment” ................................................. 2.5(b)
                 “Employee Handbook” ............................................ 3.19(c)
                 “Employment Commencement Date” ...................... 5.6(a)
                 “Escrow Accounts”..........................................................5.9
                 “Escrow Agent” ...............................................................5.9
                 “Escrow Agreement” ......................................................5.9
                 “Escrow Amount” ...................................................... 2.8(c)
                 “Excluded Assets” ....................................................... 2.2(j)
                 “Excluded Inventory” ................................................ 2.1(b)
                 “Excluded Liabilities” .....................................................2.4
                 “Export Approvals” ................................................. 3.22(a)
                 “FF&E” ....................................................................... 2.1(b)
                 “Final Closing Date Customer Deposits” ............... 2.10(d)
                 “Final Closing Date Net Working Capital” ........... 2.10(d)

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                 “Financial Statements” .............................................. 3.3(a)
                 “First Escrow Release Amount” ............................... 5.9(b)
                 “Fundamental Representations”....................................8.1
                 “Governmental Antitrust Entity” ............................. 5.7(c)
                 “HSR Act” ................................................................... 3.2(c)
                 “Indemnitees” ..................................................................8.3
                 “Indemnitor” ...................................................................8.4
                 “Interests” .................................................................. 3.1(b)
                 “Interim Balance Sheet” ........................................... 3.3(a)
                 “Leased Real Property” ........................................... 3.20(b)
                 “Lower Net Working Capital Limit” ............................2.9
                 “Material Contract” ........................................ 3.16(a)(xxv)
                 “Maximum Indemnity Amount” .............................. 8.7(a)
                 “Officer’s Certificate” ................................................ 8.6(a)
                 “Orders” .........................................................................3.10
                 “Parties” ................................................................ Preamble
                 “Projected Closing Date Balance Sheet”.......................2.9
                 “Projected Closing Date Net Working Capital” ..........2.9
                 “Projected Customer Deposits” .....................................2.9
                 “Purchase Price” .............................................................2.5
                 “Purchased Assets” .........................................................2.1
                 “Purchased Contracts” .............................................. 2.1(h)
                 “Real Property Leases”..................................... 3.16(a)(xx)
                 “Reviewing Accountant” ......................................... 2.10(c)
                 “Security Incident”.................................................. 3.19(m)
                  “Seller Fundamental Representations” ........................8.1
                 “Seller Parties” ................................................................8.2
                 “Seller” .................................................................. Preamble
                 “Seller’s Closing Date Net Working Capital” ....... 2.10(c)
                 “Seller’s Closing Customer Deposits” .................... 2.10(c)
                 “Straddle Period” ...................................................... 5.3(a)
                 “Straddle Period Return” .......................................... 5.3(a)
                 “Tax Clearance Certificate” ..................................... 5.3(d)
                 “Terminating Breach” ............................................... 7.1(b)
                 “Termination Date” ............................................. 7.1(d)(iii)
                 “Third-Party Claim” .................................................. 8.5(a)
                 “Transfer Taxes” ........................................................ 5.3(b)
                 “Transferring Employee” .......................................... 5.6(a)
                 “Upper Net Working Capital Limit”.............................2.9
                 “Valuation Expert” .................................................... 5.3(c)
                 “Van Ortwick” ..................................................... Preamble
                 “WARN Act” ...................................................................3.9


        Section 1.3. Grammatical Constructions. As used in this Agreement, except to the extent
that the context otherwise requires:


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               (a)    when a reference is made in this Agreement to an Article, Section, Exhibit
or Schedule, such reference is to an Article or Section of, or an Exhibit or Schedule to, this
Agreement unless otherwise indicated, and any Schedule or Exhibit referred to herein will be
construed with, and as an integral part of, this Agreement to the same extent as if they were set
forth verbatim;

              (b)    the table of contents and headings for this Agreement are for reference
purposes only and do not affect in any way the meaning or interpretation of this Agreement;

                (c)     whenever the words “include,” “includes” or “including” (or similar terms)
are used in this Agreement, irrespective of whether used in connection with the words “without
limitation,” they are deemed in all cases to be followed by the words “without limitation”;

               (d)    the words “hereof,” “herein” and “hereunder” and words of similar import,
when used in this Agreement, refer to this Agreement as a whole and not to any particular provision
of this Agreement;

                (e)     all terms defined in this Agreement have their defined meanings when used
in any certificate or other document made or delivered pursuant hereto, unless otherwise defined
therein;

                (f)    the definitions contained in this Agreement are applicable to the singular as
well as the plural forms of such terms;

                (g)     if any action is to be taken by any Party hereto pursuant to this Agreement
on a day that is not a Business Day, such action will be taken on the next Business Day following
such day;

                 (h)        references to a Person are also to its permitted successors and assigns;

                 (i)        the use of “or” is not intended to be exclusive unless expressly indicated
otherwise;

               (j)    “ordinary course of business” (or similar terms) will be deemed followed
by “consistent with past practice”;

                 (k)        “assets” will include “rights,” including rights under Contracts;

                (l)    “reasonable efforts” or similar terms will not require the waiver of any
rights under this Agreement;

               (m)   any reference to any Law will be deemed also to refer to all rules and
regulations promulgated thereunder and to include all statutory and regulatory provisions
consolidating, amending or replacing the Law, unless the context requires otherwise;

               (n)     any reference to a Contract or other document means such Contract or other
document as amended, supplemented and modified from time to time to the extent permitted by
the provisions thereof; and

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               (o)   all accounting terms used herein and not expressly defined herein will have
the meanings given to them under GAAP, and any references to “dollars,” “$” or other dollar
amounts in this Agreement will mean the lawful currency of the United States.

                                              ARTICLE II

                       PURCHASE AND SALE OF ASSETS AND CLOSING

         Section 2.1. Purchase and Sale. At the Closing, upon the terms and subject to the
conditions of this Agreement, Seller will sell, transfer, assign, convey and deliver or cause to be
sold, transferred, assigned, conveyed and delivered, to Buyer, and Buyer will purchase from Seller
and acquire good, valid and marketable title to, free and clear of all Encumbrances, other than
Permitted Encumbrances, all of the assets, properties and rights of Seller that are now, in the past
12 months have been, or at the time of the Closing will be, used or held for use in or otherwise
necessary for the conduct of, the Business, including all assets reflected on the most recent balance
sheet included in the Financial Statements and not subsequently disposed of in the ordinary course
of business without breach of any provision of this Agreement, in each case other than the
Excluded Assets described in Section 2.2 (collectively, the “Purchased Assets”). The Purchased
Assets will include:

                (a)    all Tangible Property (including all rights of Seller in any leases of Tangible
Property), including all of the furniture, fixtures and equipment (“FF&E”) and including the items
listed on Section 2.1(a) of the Disclosure Schedule;

                 (b)        all Inventory;

                 (c)        all Customer Orders;

                (d)     all Receivables and rights of Seller or any of its Affiliates to receive
payments arising out of, sales occurring in the conduct of the Business and the security agreements
related thereto, including all rights of Seller or any of its Affiliates with respect to any third-party
collection proceedings or any other actions or proceedings that have been commenced in
connection therewith;

               (e)    Seller’s UPC Codes used or held for use in or otherwise necessary for the
conduct of the Business, including the items set forth in Section 2.1(e) of the Disclosure Schedule;

                (f)     all Business Intellectual Property and all rights to sue and recover damages
for past, present and future infringement, dilution, misappropriation, violation, unlawful imitation
or breach thereof;

               (g)     all interests, rights, claims and benefits of Seller under all Contracts that are
now, or at the time of the Closing will be, used or useful in, or necessary for the conduct of, the
Business or relating to or arising out of the conduct of the Business, including all Contracts under
which Seller has the right to protect the confidentiality of information relating to the Business or
to prevent third parties from competing with the Business or soliciting Employees, all customer
and distributor agreements, all of which Contracts are listed either in Section 2.1(g), 3.16 or
3.20(b) of the Disclosure Schedule (collectively, the “Purchased Contracts”);

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                (h)    all Permits that are now, or at the time of the Closing will be, used or held
for use in or otherwise necessary for the conduct of, the Business, including the Business Permits
listed in Section 3.11(d) of the Disclosure Schedule;

                (i)     all files, documents, instruments, papers, books and records (whether in
paper, digital or other tangible or intangible form) that are now, or at the time of the Closing will
be, used or held for use in or otherwise necessary for the conduct of, the Business, the Purchased
Assets or the Assumed Liabilities, including copies of financial records, copies of Tax records
(other than income Tax records), all technical information, operating and production records,
quality control records, blueprints, research and development notebooks and files, customer credit
data, manuals, engineering and scientific data, marketing, sales and promotional literature and
other materials, drawings, technical plans, business plans, budgets, price lists, lists of customers
and suppliers and human resources data;

               (j)     all rights, claims and causes of Action that are now, or at the time of the
Closing will be, used or held for use in or otherwise necessary for the conduct of, the Business or
any of the Assumed Liabilities or the Purchased Assets;

                (k)     all Prepaid Expenses that are now, or at the time of the Closing will be, used
or held for use in or otherwise necessary for the conduct of the Business;

                 (l)    all rights of Seller under or pursuant to all warranties, representations,
indemnities and guarantees made either verbally or in writing by suppliers, manufacturers,
intermediaries, distributors or contractors in connection with products sold or services provided to
Seller for, or in connection with, the Business, or in respect of any Purchased Asset, but excluding
any such rights with respect to Excluded Assets

               (m)      all insurance benefits to the extent relating to claims arising out of events
that occurred prior to the Closing (if any) and associated with the Purchased Assets, including such
rights and proceeds receivable or hereafter received under any insurance policy written prior to
Closing;

              (n)     all telephone numbers, websites and domain names and user names on
social media websites that are now, or at the time of the Closing will be, used or held for use in or
otherwise necessary for the conduct of, the Business;

               (o)     all goodwill associated with the Business and the Purchased Assets,
together with the right to represent to third parties that Buyer is the successor to the Business;

                 (p)        all motor vehicles other than those described in Section 2.2(n); and

               (q)     all assets described in Section 2.1(q) of the Disclosure Schedule, whether
or not now, or at the time of the Closing, used or held for use in or otherwise necessary for the
conduct of, the Business.

       Section 2.2. Excluded Assets. Notwithstanding any provision of this Agreement express
or implied to the contrary, Buyer will not acquire and the Purchased Assets will not include the
following assets, properties and rights:

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                 (a)        Cash in Seller accounts;

                 (b)        the lease for the Real Property located at 1930 Catepillar Court, Riverside,
CA 92509;

                 (c)        the lease for the Real Property ocated at 3811 Wacker Dr., Jurupa Valley,
CA 91752;

                (d)     the capital stock of, or any membership interest, partnership interest or any
similar equity interest in, any Person;

              (e)     any Benefit Plan and all Contracts and refunds related thereto (including
refunds of workers’ compensation expenses, Contract premiums or payments);

               (f)    insurance policies and all prepaid expenses or premiums, proceeds, rights
and claims thereunder;

              (g)      all rights to any refunds of Taxes imposed on or with respect to the Business
and paid by Seller prior to the Closing;

                (h)     the minute books, charter documents, and transfer records of Seller and
such other books and records as pertain to the organization, existence or capitalization of Seller,
any other books or records not related to the Business or the Purchased Assets and financial records
pertinent to Seller’s operation of the Business (copies of which will be provided to Buyer);

                (i)         Seller’s rights under this Agreement and the Transaction Documents to
which it is a party;

              (j)    all assets owned or held in trust or otherwise associated with or used in
connection with any Benefit Plan;

                (k)     all of Seller’s rights, claims, causes of Action, rights of recovery and rights
of set-off of any kind against third parties which (i) may arise in connection with the discharge by
Seller of the Excluded Liabilities or (ii) are not related to the Purchased Assets;

                 (l)        any prepaid expenses made by or on behalf of Seller other than Prepaid
Expenses; and

              (m)    any payments received from United States Customs and Border Protection
or related Governmental Authority for Seller’s overpayment of customs duties or similar fees or
charges made by Seller prior to the Closing;

              (n)    all motor vehicles and equipment leases described in Section 2.2(n) of the
Disclosure Schedule;

                 (o)        all Excluded Inventory;




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                (p)     each of the assets set forth in Section 2.2(p) of the Disclosure Schedule (the
assets, properties and rights in this Section 2.2 collectively, the “Excluded Assets”).

        Section 2.3.        Assumed Liabilities.

                (a)     Buyer agrees that, on the Closing Date, Buyer will assume and thereafter
pay, perform or discharge, as the case may be only (i) the Liabilities of Seller arising from facts or
circumstances or underlying conditions or events or activities first occurring after the Closing that
are either in respect of the Purchased Assets or the conduct of the Business and (ii) the Liabilities
reflected in the calculation of the Final Closing Date Net Working Capital, in each case, set forth
on Section 2.3 of the Disclosure Schedule (collectively, the “Assumed Liabilities”).

                (b)     In the event of any claim against Buyer with respect to any of the Assumed
Liabilities, Buyer will have, and Seller hereby assigns to Buyer, all defenses, counterclaims and
rights of setoff that would have been available to Seller or the Business if such claim had been
asserted against Seller or the Business. The assumption by Buyer of the Assumed Liabilities and
the transfer of the Assumed Liabilities by Seller will in no way expand the rights or remedies of
any Person against Buyer, Seller, their respective Affiliates or any of their respective
Representatives as compared to the rights and remedies that such Person would have had against
Buyer, Seller, their respective Affiliates or any of their respective Representatives had Buyer not
assumed the Assumed Liabilities.

         Section 2.4. Excluded Liabilities. Notwithstanding any provision of this Agreement
express or implied to the contrary (and without any implication that Buyer is assuming any
Liability of Seller or the Business or any Liability related to any of the Purchased Assets not
expressly excluded), Buyer is not assuming or becoming obligated in any way in respect of, and
will not be required to pay, perform, undertake or discharge, any Liabilities that are not specifically
included in the Assumed Liabilities, including (a) any Indebtedness, including debt for borrowed
money and all fees, accrued and unpaid interest, premiums or penalties relating to the foregoing
including that certain Business Loan Agreement, dated January 28, 2021, (b) any Liabilities to the
extent relating to, resulting from or arising out of any Environmental Law (including any violation
of Environmental Law), Environmental Condition, or any Release of Hazardous Substance on,
under, at or migrating to or from any of Seller’s or any of its predecessors current or former
facilities, (c) any Liability arising from facts or circumstances or underlying conditions or events
or activities first occurring on or prior to the Closing, or relating to the conduct or operation of the
Business or any other conduct of Seller and its Affiliates and their respective officers, directors,
employees, consultants, agents or advisors on or prior to the Closing, including but not limited to
any Liability related to compliance with respect to Customs and Import Laws and any product
misclassification or underpayments for customs duties or similar fees or charges owed by Seller
(including, without limitation, any fines, assessments, penalties or late fees related thereto) to
United States Customs and Border Protection or related Governmnetal Authority (the “Excluded
Liabilities”). Seller will pay, perform or discharge when due or required to be performed or
discharged, or contest in good faith, the Excluded Liabilities.




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        Section 2.5.        Purchase Price.

               (a)     At Closing. Subject to any adjustments required pursuant to Sections 2.5(b),
2.9, and 2.10, the aggregate purchase price for the Purchased Assets is Two Hundred Fifteen
Million dollars ($215,000,000) (the “Purchase Price”) which shall be paid 90% in cash and 10%
in shares of Parent Stock.

                (b)      Earn-Out. As soon as practicable after the Closing, Seller shall submit to
CBP a request for a binding tariff classification ruling letter in accordance with 19 C.F.R. Part 177
in respect of Seller’s import classification whereby complete lighting fixtures previously classified
by Seller under Section 9405 of the US Harmonized Tariff Schedule were amended by Seller to
be classified as various types of lamps under Section 8539 of the US Harmonized Tariff Schedule
(the “Classification”). Seller shall bear all costs and expenses related thereto, and shall keep Buyer
reasonably apprised of any material communications with CBP, including any requests for
additional information, any decisions rendered regarding the Classification, and any
communications with CBP regarding Seller’s previously submitted Prior Disclosure. In the event
CBP issues a binding tariff classification ruling indicating that the Seller’s Classification was
correct, then within ten (10) Business Days of Seller’s receipt of such ruling from CBP, Buyer
shall pay to Seller, as an increase in the Purchase Price, an amount equal to Thirty-Five Million
dollars ($35,000,000) (the “Earn-Out Payment”). In the event CBP issues a ruling that does not
adopt Seller’s Classification, Buyer shall have no obligation to pay the Earn-Out Payment. Seller
shall indemnify Buyer pursuant to Article VIII hereof in respect of any Losses incurred by Buyer
due to the inaccuracy or invalidity of the Classification, and Seller shall remain liable for all
conduct of Seller in respect of Customs and Import Laws, including any activity undertaken by
Seller after Closing to import Inventory that was ordered prior to Closing. Notwithstanding
Seller’s submission of a customs ruling request pursuant to this Section 2.5(b), and regardless of
whether CBP’s review of such ruling is pending, Buyer shall be entitled, immediately upon the
Closing, and at its complete discretion, to either continue to apply the Classification or apply a
different classification to any Business Products included in the Purchased Assets.

        Section 2.6. Closing. Unless the Agreement is earlier terminated, the closing of the
transactions contemplated hereby (the “Closing”) will take place in virtual electronic form via
exchange of PDF, facsimile or other electronic transmission of documents on the third Business
Day following the satisfaction or waiver of all conditions set forth in Article VI (other than
conditions that, by their nature, are to be satisfied at the Closing, but subject to the satisfaction or
waiver of those conditions) or at such other time or place as Buyer and Seller mutually agree. The
date on which the Closing actually occurs is referred to herein as the “Closing Date.”

        Section 2.7. Closing Deliveries by Seller. At the Closing, Seller will deliver or cause to
be delivered to Buyer:

              (a)   a duly executed original copy of the Assignment and Assumption
Agreement and Bill of Sale (the “Bill of Sale”) in substantially the form of Exhibit G, duly
executed by Seller;

                 (b)        the Intellectual Property Assignment Agreement, duly executed by Seller;


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                 (c)        the Escrow Agreement, duly executed by Seller;

                 (d)        the Jungle Boys Marketing Agreement, duly executed by JB IP, LLC;

                 (e)        the Burkhart Marketing Agreement, duly executed by Burkhart;

                 (f)        the Marketing Content Plan, in a form reasonably acceptable to Buyer;

                 (g)        the Transition Services Agreement, duly executed by Seller;

                 (h)        all Tax Clearance Certificates as provided under Section 5.3;

                (i)    a certificate described in Treasury Regulations Section 1.1445-2(b)(2) from
each Seller, in a form reasonably acceptable to Buyer and duly executed by each Seller, and an
IRS Form W-9 form each Seller, properly completed and duly executed by each Seller;

                 (j)        all sales and use Tax exemption certificates issued to each Seller; and

               (k)      such further instruments and documents as may be required to be delivered
by Seller pursuant to the terms of this Agreement or as may be reasonably requested by Buyer in
connection with the Closing of the transactions contemplated by this Agreement and the
Transaction Documents to complete the transfer of the Purchased Assets and the Business to
Buyer, including good and sufficient instruments of assignment with respect to the Intellectual
Property being transferred by Seller to Buyer in recordable form, endorsements, consents,
assignments and other good and sufficient instruments of conveyance and assignment necessary
or appropriate to vest in Buyer all right, title and interest in, to and under the Purchased Assets.

        Section 2.8.        Closing Deliveries by Buyer. At the Closing, Buyer will deliver or cause to
be delivered:

              (a)    to Seller, an amount in cash equal to the Purchase Price, less the Parent
Stock Consideration Amount, less the Escrow Amount (the “Closing Amount”) by wire transfer
of immediately-available funds to such account as Seller may direct by written notice to Buyer;

              (b)    to Seller, the Parent Stock Consideration, to be delivered via the transfer
agent of The Scotts Miracle-Gro Company;

              (c)    to the Escrow Agent, an amount equal to $25,800,000 (the “Escrow
Amount”), by wire transfer of immediately-available funds to the Escrow Agent in accordance
with the Escrow Agreement;

                 (d)        to Seller, the Bill of Sale, duly executed by Buyer;

                 (e)        to Seller, the Escrow Agreement, duly executed by Buyer;

                 (f)        to Seller, the Intellectual Property Assignment Agreement, duly executed
by HGCI, Inc.;

                 (g)        the Jungle Boys Marketing Agreement, duly executed by Buyer;
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                 (h)        the Transition Services Agreement, duly executed by Buyer; and

              (i)     such further instruments and documents as may be required to be delivered
by Buyer pursuant to the terms of this Agreement or as may be reasonably requested by Buyer in
connection with the Closing of the transactions contemplated by this Agreement and the
Transaction Documents.

        Section 2.9. Pre-Closing Delivery by Seller; Adjustment. At least five calendar days
prior to the Closing Date, Seller will deliver to Buyer the projected, unaudited consolidated balance
sheet of Seller as of the end of the Business Day immediately preceding the Closing Date (the
“Projected Closing Date Balance Sheet”), together with a statement based on the Projected
Closing Date Balance Sheet setting forth Seller’s calculation of (i) projected Net Working Capital
as of the end of the Business Day immediately preceding the Closing Date (the “Projected Closing
Date Net Working Capital”) and (ii) projected Customer Deposits (the “Projected Customer
Deposits”). The Projected Closing Date Balance Sheet, the Projected Closing Date Net Working
Capital and the Projected Customer Deposits will be prepared in accordance with Exhibit E, and,
to the extent not foreseen on Exhibit E, GAAP. Buyer will as promptly as practicable review the
Projected Closing Date Balance Sheet and such statement of Projected Closing Date Net Working
Capital and Projected Customer Deposits, and the Parties will promptly discuss in good faith all
comments and questions Buyer may have with respect to the Projected Closing Date Balance Sheet
and such statement of Projected Closing Date Net Working Capital and Projected Customer
Deposits. Following such discussions, (a) if the Projected Closing Date Net Working Capital is
an amount greater than the Target Net Working Capital plus ten percent (10%) (the “Upper Net
Working Capital Limit”), the Purchase Price and the Closing Payment will be increased by the
amount of the excess of Projected Closing Date Net Working Capital above the Upper Net
Working Capital Limit, (b) if the Target Net Working Capital is an amount less then the Projected
Closing Date Net Working Capital minus ten percent (10%) (the “Lower Net Working Capital
Limit”), the Purchase Price and the Closing Payment will be decreased by the amount of the excess
of the Lower Net Working Capital Limit above the Projected Closing Date Net Working Capital
and (c) the Purchase Price and the Closing Payment will be decreased by the amount of the
Projected Customer Deposits.

        Section 2.10. Closing Date Balance Sheet.

                (a)    Promptly following the Closing Date, but in no event more than sixty (60)
days following the Closing Date, Buyer will prepare and deliver to Seller (i) a pro forma balance
sheet as of the end of the Business Day immediately preceding the Closing Date (the “Closing
Date Balance Sheet”), and (ii) a statement based on the Closing Date Balance Sheet setting forth
Buyer’s calculation of the Closing Date Net Working Capital and Closing Date Customer
Deposits, each of (i) and (ii) to be prepared in accordance with Exhibit E, and, to the extent not
foreseen on Exhibit E, GAAP. Buyer will permit Seller to review and to have reasonable access
to the financial records of the Business and the Purchased Assets for purposes of reviewing the
Closing Date Balance Sheet, the Closing Date Net Working Capital and Closing Date Customer
Deposits determination during the 30-calendar day period set forth in Section 2.10(b).

              (b)     Unless, within thirty (30) calendar days after delivery of the Closing Date
Balance Sheet, Seller delivers to Buyer a notice setting forth, in reasonable detail, any good faith

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objection as to the Closing Date Net Working Capital or the Closing Date Customer Deposits and
the basis and calculations for such objection (a “Dispute Notice”), Buyer’s calculation of the
Closing Date Net Working Capital and Closing Date Customer Deposits will be deemed accepted
by Seller and will be final and binding.

                (c)     For thirty (30) days after Buyer’s receipt of any Dispute Notice, Seller and
Buyer will endeavor in good faith to resolve by mutual agreement all matters in the Dispute Notice
to reach definitive agreement on the disputed items or amounts in order to determine, as may be
required, the amount of Closing Date Net Working Capital, which amount will not be more than
the amount thereof shown in Seller’s calculations delivered pursuant to Section 2.10(b) (“Seller’s
Closing Date Net Working Capital”) nor less than the amount thereof shown in Buyer’s
calculation delivered pursuant to Section 2.10(a) (“Buyer’s Closing Date New Working
Capital”), and Closing Date Customer Deposits, which amount will not be less than the amounts
thereof shown in Seller’s calculations delivered pursuant to Section 2.10(b) (“Seller’s Closing
Date Customer Deposits”) nor more than the amounts thereof shown in Buyer’s calculation
delivered pursuant to Section 2.10(a) (“Buyer’s Closing Date Customer Deposits”). If the
Parties are unable to resolve any matter in the Dispute Notice within such thirty (30) calendar day
period, Buyer and Seller will engage KPMG LLP or another nationally recognized, independent
accounting firm to be mutually agreed upon (the “Reviewing Accountant”). The fees and
expenses of the Reviewing Accountant will be allocated and borne by Buyer, on the one hand, and
Seller, on the other hand, based on the inverse of the percentage that the Reviewing Accountant’s
determination (before such allocation) bears to the total amount of the total items in dispute as
originally submitted to the Reviewing Accountant.

                (d)     Buyer and Seller will instruct the Reviewing Accountant to resolve the
disputed matters as promptly as practicable. The Reviewing Accountant will act as an expert, and
not an arbitrator, and will resolve the amounts disputed in the Dispute Notice only, based solely
on written submissions by Buyer and Seller and not by independent review or audit, and applying
only the principles set forth in this Agreement. The Parties will cooperate with each other and the
Reviewing Accountant in connection with the matters set forth in this Section 2.10, including by
furnishing such information as may be reasonably requested. Each Party will afford the other Party
the reasonable and unrestricted opportunity to participate in all communications with the
Reviewing Accountant. The Reviewing Accountant will give to Buyer and Seller its written
determination of its calculation of the Closing Date Net Working Capital (the “Final Closing Date
Net Working Capital”) and/or Closing Date Customer Deposits (the “Final Closing Date
Customer Deposits”), which determinations will be made, to the extent practicable, within 30
days of the Reviewing Accountant’s engagement; provided, that, in no event will the Final Closing
Date Net Working Capital be greater than the amount of Seller’s Closing Date Net Working
Capital or less than the amount of Buyer’s Closing Date Net Working Capital, nor will the Final
Customer Deposits be greater than the amount of Buyer’s Closing Date Customer Deposits or less
than the amount of Seller’s Closing Date Customer Deposits. The Reviewing Accountant’s
determination will be final and binding and no Party will seek recourse to any Governmental
Authority, arbitral body or otherwise, other than to collect any amounts due under this Section
2.10. Judgment may be entered to enforce the Reviewing Accountant’s determination in any court
having jurisdiction over the Party against which such determination is to be enforced.



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                (e)     (i)     If the Final Closing Date Net Working Capital is greater than the
Upper Net Working Capital Limit, Buyer will pay to Seller, as an adjustment to the Purchase Price,
an amount by which the Final Closing Date Net Working Capital exceeds the Upper Net Working
Capital Limit (less the amount of any increase to the Purchase Price pursuant to the final sentence
of Section 2.9 or, if applicable, plus the amount of any decrease to the Purchase Price pursuant to
the final sentence of Section 2.9) within five (5) Business Days after the Final Closing Date Net
Working Capital has been determined in accordance with this Section 2.10, ninety percent (90%)
of such amount to be paid in cash by wire transfer of immediately-available funds and ten percent
(10%) of such amount to be paid in Parent Stock, to be delivered via the transfer agent of The
Scotts Miracle-Gro Company.

                        (ii)     If the Final Closing Date Net Working Capital is less than the
Lower Net Working Capital Limit, Seller will pay to Buyer, as an adjustment to the Purchase Price,
an amount by which the Lower Net Working Capital Limit exceeds the Final Closing Date Net
Working Capital (less the amount of any decrease to the Purchase Price pursuant to the final
sentence of Section 2.9 or, if applicable, plus the amount of any increase to the Purchase Price
pursuant to the final sentence of Section 2.9) within five (5) Business Days after the Final Closing
Date Net Working Capital has been determined in accordance with this Section 2.10, such payment
to be made in cash by wire transfer of immediately-available funds; provided, that Buyer may elect
to withdraw such amount from the Escrow Account, in which case Buyer and Seller will instruct
the Escrow Agent to pay to Buyer such amount pursuant to the terms of, and subject to, the Escrow
Agreement;

                       (iii)     If the Final Closing Date Customer Deposits is an amount less than
Projected Customer Deposits, Buyer will pay to Seller, as an adjustment to the Purchase Price, an
amount by which the Projected Customer Deposits exceeds the Final Closing Date Customer
Deposits, within five (5) Business Days after the Final Closing Date Customer Deposits has been
determined in accordance with this Section 2.10, ninety percent (90%) of such amount to be paid
in cash by wire transfer of immediately-available funds and ten percent (10%) of such amount to
be paid in Parent Stock, to be delivered via the transfer agent of The Scotts Miracle-Gro Company;

                       (iv)    If the Final Closing Date Customer Deposits is an amount greater
than the Projected Customer Deposits, Seller will pay to Buyer, as an adjustment to the Purchase
Price, an amount by which the Final Closing Date Customer Deposits exceeds the Projected
Closing Date Customer Deposits within five Business Days after the Final Closing Date Customer
Deposits has been determined in accordance with this Section 2.10, such payment to be made in
cash by wire transfer of immediately-available funds; provided, that Buyer may elect to withdraw
such amount from the Escrow Account, in which case Buyer and Seller will instruct the Escrow
Agent to pay to Buyer such amount pursuant to the terms of, and subject to, the Escrow Agreement;
and

                      (v)     If the Final Closing Date Net Working Capital equals the
Projected Closing Date Net Working Capital and the Final Closing Date Customer Deposits equals
the Projected Customer Deposits, then no adjustment will be made to the Purchase Price.

                   (vi)     If the Final Closing Date Net Working Capital is greater than the
Lower Net Working Capital Limit and less than the Upper Net Working Capital Limit, then, as

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applicable, (A) the amount of any decrease to the Purchase Price pursuant to the final sentence of
Section 2.9 shall be paid by Buyer to Seller, as an adjustment to the Purchase Price, within five (5)
Business Days after the Final Closing Date Net Working Capital has been determined in
accordance with this Section 2.10, ninety percent (90%) of such amount to be paid in cash by wire
transfer of immediately-available funds and ten percent (10%) of such amount to be paid in Parent
Stock, to be delivered via the transfer agent of The Scotts Miracle-Gro Company or (B) the amount
of any increase to the Purchase Price pursuant to the final sentence of Section 2.9 shall be paid by
Seller to Buyer, as an adjustment to the Purchase Price, within five (5) Business Days after the
Final Closing Date Net Working Capital has been determined in accordance with this Section 2.10,
such payment to be made in cash by wire transfer of immediately-available funds; provided, that
Buyer may elect to withdraw such amount from the Escrow Account, in which case Buyer and
Seller will instruct the Escrow Agent to pay to Buyer such amount pursuant to the terms of, and
subject to, the Escrow Agreement.

        Section 2.11. Withholding. Buyer, each Seller and their respective Affiliates and agents
shall be entitled to deduct and withhold from any amount payable pursuant to this Agreement
(including payment of the Purchase Price and releases of the Escrow Amount) such amounts as
Buyer, Seller or any of their respective Affiliates or agents (as applicable) shall determine in good
faith they are required to deduct and withhold with respect to the making of such payment under
the Code or any other provision of applicable Law. To the extent that amounts are so deducted
and withheld, such amounts shall in each case be treated for all purposes of this Agreement as
having been paid to the Person in respect of whom such deduction and withholding was made.

        Section 2.12. Parent Stock Consideration. All Parent Stock received by Seller pursuant
to this Article II is deliverable to Seller subject to Seller’s execution and delivery of a letter of
transmittal to the transfer agent of The Scotts Miracle-Gro Company in a form reasonably
acceptable to The Scotts Miracle-Gro Company. No Parent Stock received by Seller pursuant to
this Article II may be transferred to another Person until the date that is one Business Day
following the one year anniversary of the Closing Date; provided, that Seller may transfer Parent
Stock to Van Ortwick or Burkhart, or to any trust or other estate planning vehicle of Van Ortwick
or Burkhart, as applicable, so long as Van Ortwick or Burkhart, as applicable, are the trustee or
beneficiary of such trust or other estate planning vehicle, and provided that each such transferee
agrees in writing to be subject to the restrictions in this Section 2.12. Dividends, distributions,
splits and other benefits of the Parent Stock shall inure to the benefit of Seller.

                                              ARTICLE III

                             REPRESENTATIONS AND WARRANTIES
                                       OF SELLER

                 Seller represents and warrants to Buyer as to itself and as to the Purchased Assets
as to which Seller has any right, title and interest, as of the date hereof and as of the Closing Date
as set forth in this Article III.

        Section 3.1.        Organization and Qualification; Capitalization.



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                 (a)     Seller is a corporation duly organized, validly existing and in good standing
 under the Laws of the State of California. Seller has all requisite power and authority to own,
 license, use, lease and operate its assets and properties (including any Purchased Assets owned by
 Seller) and to carry on its business as it is now being conducted. Seller is duly licensed or qualified
 to do business and is in good standing in each jurisdiction in which the assets and properties owned
 or leased by it or the operation of its business as currently conducted (including any Purchased
 Assets and the Business) makes such licensing or qualification necessary, except where the failure
 to be so licensed, qualified or in good standing would not, individually or in the aggregate, be
 material to the Business.

                  (b)    Burkhart and Van Ortwick each respectively hold 50% of the authorized
equity capital of Seller, the number of shares of which is set forth opposite each of Burkhart’s and
Van Ortwick’s names on Section 3.1(b)(i) of the Disclosure Schedule (the “Interests”). The
Interests constitute all the issued and outstanding equity interests of Seller, all of which are duly
authorized, validly issued and outstanding, fully paid up and nonassessable, free of any
Encumbrances and any agreement, obligation or commitment to create, grant, give or permit to
subsist any Encumbrances whatsoever and are held of record by each of Burkhart and Van Ortwick,
respectively. There is no security, option, warrant, right, call, subscription, agreement, commitment
or understanding of any nature whatsoever, fixed or contingent, that directly or indirectly (i) calls
for, prior to the Closing, the issuance, sale, pledge or other disposition by Seller of any of its equity
interests or any securities convertible into, or other rights to acquire, any such equity interests,
(ii) relates to the voting or control of such equity interests or rights, or (iii) obligates Seller to grant,
offer or enter into any of the foregoing. Seller has not created any “phantom equity,” equity
appreciation rights, profit participation rights or other similar rights with respect to Seller. Seller
has not granted to any Person the right to demand or request that Seller effect a registration under
the Securities Act of 1933, of any securities held by such Person or to include any securities of such
Person in any such registration by Seller. Other than the Interests, no other Person owns any equity
interest in Seller and no right of any kind to have any such equity interest issued. Seller does not
own and has not owned, of record or beneficially, or control and has not controlled any direct or
indirect equity or other interest, or any right (contingent or otherwise) to acquire the same, in any
corporation, partnership, limited liability company, joint venture, association or other entity. Seller
is not a party to or bound by any Contract to acquire any direct or indirect equity or ownership
interest in any other Person or business. Seller is not obligated to provide funds or make any
investment (whether in the form of a loan, capital contribution or otherwise) in any other Person.

         Section 3.2.        Authority; Non-Contravention; Approvals.

                (a)    Seller has all requisite power and authority to execute and deliver this
 Agreement and the Transaction Documents to which it is a party and to perform the transactions
 contemplated by this Agreement and the Transaction Documents. The execution and delivery by
 Seller of this Agreement and the Transaction Documents and the performance by Seller of the
 transactions contemplated by this Agreement and the Transaction Documents to which it is a party
 have been duly authorized and approved by Seller’s Boards of Directors and its requisite
 shareholders. Except as set forth on Section 3.2(a) of the Disclosure Schedule, no corporate or
 other action or proceeding on the part of Seller or any other Person is necessary to authorize the
 execution and delivery of this Agreement and the Transaction Documents by Seller or the
 performance and consummation by Seller of the transactions contemplated by this Agreement and

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the Transaction Documents. This Agreement has been, and upon their execution the Transaction
Documents will be, duly executed and delivered by Seller and, assuming the due authorization,
execution and delivery of this Agreement and the Transaction Documents by Buyer and, with
respect to the Escrow Agreement, the Escrow Agent, constitutes, and upon their execution the
Transaction Documents will constitute, valid and binding obligations of Seller, enforceable against
Seller in accordance with their respective terms.

               (b)      The execution and delivery by Seller of this Agreement and the Transaction
Documents that Seller is a party to and the performance of the transactions contemplated by this
Agreement and such Transaction Documents do not and will not (i) conflict with or result in a
breach of any provision of the organizational documents of Seller, (ii) except as set forth in
Section 3.2(b)(ii) of the Disclosure Schedule, constitute a default or an event of default under (with
or without due notice, lapse of time or both) or give rise to any obligation or any third party right
to cancel, terminate or accelerate any obligation under, any material Contract to which any of
Burkhart, Van Ortwick or Seller is a party, by which any of the foregoing may be bound or to
which the Purchased Assets are subject, (iii) result in the creation of any Encumbrance on the
Purchased Assets or any other right or asset of any of Burkhart, Van Ortwick or Seller, (iv) violate
any Law applicable to Seller, the Business, the Purchased Assets or the Assumed Liabilities, or (v)
require any authorization, consent, approval, waiver, exemption or other action by, or notice to,
any party (other than Seller) to any Purchased Contract (each, a “Consent”), except as disclosed
in Section 3.2(b)(v) of the Disclosure Schedule.

                (c)    Except for the filings by Seller required by the Hart-Scott-Rodino Antitrust
Improvements Act of 1976 (the “HSR Act”) and as disclosed in Section 3.2(c) of the Disclosure
Schedule, and subject to the provisions of Section 2.5 and Section 5.8, no declaration, filing or
registration with, or notice to, or authorization, consent, order or approval of, any Governmental
Authority is required to be obtained or made in connection with or as a result of the execution and
delivery of this Agreement and the Transaction Documents by Seller or the performance by Seller
of the transactions contemplated by this Agreement and the Transaction Documents, except as
could not reasonably be expected to have a Seller Material Adverse Effect or otherwise be material
to the Business.

        Section 3.3.        Financial Statements; Inventory.

                (a)     Section 3.3 of the Disclosure Schedule sets forth the audited balance sheet
of the Business for each of the two fiscal years ended December 31, 2019 and December 31, 2020
and the related audited consolidated statements of income and cash flows for such periods, and the
unaudited balance sheet (the “Interim Balance Sheet”) and the related unaudited consolidated
statements of income, and cash flows for the 9-month period ended September 30, 2021
(collectively, the “Financial Statements”). The Financial Statements were derived from the
books and records of Seller and prepared in accordance with GAAP and fairly present the financial
position and results of operations of the Business as of their respective dates and for the respective
periods presented (subject to the absence of notes, recordation of Taxes and certain footnote
disclosures otherwise required by GAAP, which are not material in nature or amount, individually
or in the aggregate, to the Business). The books of account and other financial records of the
Business have been kept accurately in the ordinary course of business consistent with all applicable
legal requirements. Seller maintains a system of internal controls over financial reporting

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sufficient to provide reasonable assurances regarding the reliability of financial reporting,
including that (i) transactions are executed in accordance with management’s general or specific
authorizations, (ii) transactions are recorded as necessary to permit preparation of the financial
statements in accordance with GAAP and to maintain accountability for its assets, and (iii) access
to assets is permitted only in accordance with management’s general or specific authorization.

                (b)     All Eligible Inventory, net of reserves, (i) currently consists of a quality and
quantity that is marketable, good, useable (as to raw materials or work in process) and saleable (as
to finished goods) in the ordinary course of business, (ii) has been created or acquired in the
ordinary course of business, and (iii) is fit for the purpose for which it was procured or
manufactured. The value of all such Inventories that are obsolete, slow moving, excess or of
below-standard quality has been written down to net realizable value or adequate reserves have
been provided therefor. None of the Inventory is held on consignment, or similar arrangement, by
third parties. The amount and mix of items in the Inventories of supplies, in process and finished
products are consistent with past business practice of Seller with respect to the Business, and, to
Seller’s Knowledge, the year-to-date Inventory shrink related to the Business is consistent with
historical shrink incurred in the ordinary course of business.

        Section 3.4. Absence of Undisclosed Liabilities. Except as set forth in Section 3.4 of
the Disclosure Schedule, there are no material Liabilities relating to the Business of any nature,
whether accrued, contingent or otherwise, and there is no existing condition, situation or set of
facts or circumstances that reasonably could be expected to result in such a Liability, except for
Liabilities (a) reflected on the Interim Balance Sheet, but only to the extent reflected therein,
(b) that were incurred in the ordinary course of business since the date of the Interim Balance Sheet
and that could not reasonably be expected to be material to the Business, or (c) transaction
expenses relating to the transactions contemplated by this Agreement or the Transaction
Documents, all of which are the responsibility of Seller.

        Section 3.5. Absence of Certain Changes or Events. Since the date of the Interim
Balance Sheet (a) there has not been any event, circumstance, change or effect that has had or
could reasonably be expected to have a Business Material Adverse Effect or a Seller Materially
Adverse Effect, (b) except as disclosed in Section 3.5 of the Disclosure Schedule, the Business has
been conducted only in the ordinary course of business, and (c) none of Burkhart, Van Ortwick or
Seller has taken any action which, if taken after the date of this Agreement without Buyer’s
consent, would be prohibited under Section 5.1(a)-(r).

        Section 3.6.        Tax Matters.

                (a)     All Tax Returns required to have been filed with respect to the Business or
the Purchased Assets have been timely filed and are true, correct and complete in all material
respects. None of the Tax Returns with respect to the Purchased Assets or the Business is currently
subject to a grant of any extension of time within which to file such Tax Return.

               (b)     All Taxes (including but not limited to all state employment Taxes and
related withholdings) that are due and payable with respect to the Business or the Purchased Assets
(whether or not shown on any Tax Return) have been timely and fully paid and there are no


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reasonable grounds for the assertion or assessment of additional Taxes against the Purchased
Assets.

               (c)    All Taxes required to be withheld by Seller with respect to the Purchased
Assets or the Business in connection with any amounts paid or owing to any employee,
independent contractor, creditor, stockholder or other third party have been timely withheld and
all such withheld Taxes have been timely paid over and report to the proper Governmental
Authority in accordance with applicable Law.

                (d)     No deficiencies for Taxes have been claimed, threatened, proposed or
assessed or, to Seller’s Knowledge, are expected to be claimed, threatened, proposed or assessed,
in each case, with respect to the Purchased Assets or the Business. Section 3.6(d)(i) of the
Disclosure Schedule contains a complete list of all Tax audits, examinations and investigations
with respect to the Business or the Purchased Assets that have been completed or are currently
pending and a description in reasonable detail of any deficiencies that have been paid or are
currently being contested. Except as described in Section 3.6(d)(ii) of the Disclosure Schedule,
no Seller has given or been requested to give any waiver or extension (or is or would be subject to
a waiver or extension given by any other Person) of any statute of limitations relating to the
assessment or payment of Taxes with respect to the Business or the Purchased Assets.

                (e)     There are no Encumbrances for Taxes on any of the Purchased Assets (other
than for Taxes not yet due and payable or not yet delinquent), and to Seller’s Knowledge there is
no basis for the assertion of any claims for Taxes which could result in any such Encumbrance.

                (f)     No claim has been made by a Governmental Authority that Seller has nexus
or is required to file Tax Returns or pay Taxes (in each case, with respect to the Purchased Assets
or the Business) in a jurisdiction where it does not file such Tax Returns or pay such Taxes. Seller
has filed income Tax Returns in all jurisdictions where Seller holds Tangible Property or makes
payments through payroll.

              (g)     Seller has no deferred income pursuant to IRS Revenue Procedure 2004-34,
Treasury Regulation Section 1.451-5, Section 455 of the Code, or Section 456 of the Code (or any
corresponding or similar provision of Law), in each case related to the Business or the Purchased
Assets.

                (h)     None of the Purchased Assets is (i) property required to be treated as being
owned by another Person pursuant to the safe harbor lease provision of former Section 168(f)(8)
of the Code, (ii) “tax-exempt use property” within the meaning of Section 168(h)(1) of the Code,
(iii) “tax-exempt bond financed property” within the meaning of Section 168(g) of the Code, or
(iv) subject to any similar provision of Law.

                (i)   None of the Purchased Assets is an interest (other than indebtedness within
the meaning of Section 163 of the Code) in an entity treated for U.S. federal (and applicable U.S.
state and local) income Tax purposes as a corporation, partnership, trust or real estate mortgage
investment conduit.




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                (j)     There is no Liability under any Contract that is a Purchased Asset to pay,
share or indemnify for the Taxes of any other Person (other than Liabilities under such Contracts
entered into in the ordinary course of business that do not relate primarily to Taxes).

               (k)     Seller not has engaged in a “reportable transaction” involving the Purchased
Assets or the Business, as defined in Section 6707A(c)(1) of the Code or Treasury Regulations
Section 1.6011-4(b), or any transaction requiring disclosure under a comparable or similar
provision of applicable Law.

                 (l)        Seller is not a “foreign person” within the meaning of Section 1445 of the
Code.

                (m)    Seller has complied with all applicable Laws relating to escheat, property,
sales, use, goods and services or other commodity Taxes with respect to the Purchased Assets and
the Business.

               (n)    Since its date of incorporation, Seller has timely filed IRS Form 8300 with
respect to any and all payments in cash received by Seller for which filing IRS Form 8300 is
required.

               (o)    To the extent applicable, Seller has complied with Section 280E of the Code
and has not taken a deduction credit for any expenditures to the extent prohibited by Section 280E
of the Code. To the extent applicable, Seller has complied with IRS Chief Counsel Advice
201504011.

        Section 3.7.        ERISA and Employee Benefits.

                 (a)    Section 3.7 of the Disclosure Schedule sets forth a complete and accurate
list of (i) all employee benefit plans, programs and arrangements, including all profit-sharing,
bonus, commission, stock option, pension, retirement, deferred compensation, post-retirement
medical or life insurance, severance, welfare, incentive, equity incentive, phantom equity, change
in control, sick leave or other leave of absence, short- or long-term disability, retention and salary
continuation, plans, programs and arrangements (whether written or oral, qualified or nonqualified,
funded or unfunded, foreign or domestic, currently effective of terminated), in any case,
established, maintained, sponsored or contributed to in connection with the Business for the benefit
of any present or former Employees, directors, officers, shareholders, consultants, or independent
contractors of the Business, with respect to which Seller has made or is required to make payments,
transfers, or contributions or for which Seller has any potential Liability (the “Benefit Plans”),
and (ii) each employment or severance agreement addressed to or covering any Employees,
directors, officers, consultants, or independent contractors of the Business pursuant to which Seller
has any actual or contingent Liability or obligation. Seller has no Liability with respect to any
plan, agreement, program or arrangement of the type described in the preceding sentence other
than the Benefit Plans.

               (b)      With respect to each Benefit Plan, Seller has made available to Buyer true
and complete copies of each Benefit Plan (or, if not written, a written summary of its material
terms), along with, to the extent applicable, copies of all amendments, trust agreements, insurance
contracts or other funding vehicles, summary plan descriptions and summaries of material
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modifications, the three most recently filed annual reports (Form 5500 series), COBRA
communications, actuarial valuations, nondiscrimination test results, and the most recent
determination or opinion letter issued by the IRS, and any documents, forms or other instruments
relating to any Benefit Plan reasonably requested by Buyer.

               (c)     Each Benefit Plan has been maintained and operated in accordance with its
terms and in accordance with applicable Law, including ERISA and the Code. As of the date
hereof, there are no Actions pending, or threatened, with respect to any Benefit Plan (other than
routine claims for benefits in the ordinary course of business), nor is there any basis for one. With
respect to the Benefit Plans, no breaches of fiduciary duty and no non-exempt prohibited
transactions (within the meaning of Section 406 of ERISA or Section 4975 of the Code) have
occurred that could reasonably be expected to give rise to any Liability on the part of Seller or any
ERISA Affiliates. No “reportable event,” as defined in Section 4043 of ERISA, with respect to
which the reporting requirement has not been waived, has occurred with respect to any such plan.

                (d)    Neither Seller nor any ERISA Affiliate sponsors, maintains or contributes
to (i) any “employee pension benefit plan” (as defined in Section 3(2) of ERISA) that is subject to
Title IV of ERISA, (ii) any pension plan subject to the funding standards of Section 302 of ERISA
or Section 412 of the Code, (iii) any “multiemployer plan” (within the meaning of Section 3(37)
of ERISA), (iv) any “multiple employer plan” within the meaning of Section 210(a) of ERISA, or
(v) a multiple employer welfare arrangement within the meaning of Section 3(40) of ERISA.

                 (e)     Each Benefit Plan that is intended to be qualified under Section 401(a) of
the Code is the subject of a favorable determination letter from the IRS, or with respect to a
prototype plan, Seller, as applicable, can rely on an opinion letter from the IRS to the prototype
plan sponsor, to the effect that such Benefit Plan is so qualified and that the trust related thereto is
exempt from federal income Taxes under Sections 401(a) and 501(a), respectively, of the Code,
and, to Seller’s Knowledge, there are no facts or circumstances that would reasonably be expected
to result in the loss of the qualification of such Benefit Plan.

               (f)    With respect to each Benefit Plan that is a “welfare benefit plan” (as defined
in Section 3(1) of ERISA), no such plan provides medical or death benefits with respect to any
Person beyond their termination of employment (other than to the extent required by Law,
including group health plan continuation coverage required under Part 6 of Subtitle B of Title I of
ERISA, Section 4980B of the Code or similar state Law).

               (g)    No Benefit Plan is or at any time was funded through a “welfare benefit
fund” as defined in Section 419(e) of the Code, and no benefits under any Benefit Plan are or at
any time have been provided through a voluntary employees’ beneficiary association (within the
meaning of subsection 501(c)(9) of the Code) or a supplemental unemployment benefit plan
(within the meaning of Section 501(c)(17) of the Code).

               (h)   All contributions, reserves or premium payments (including all employer
contributions and employee salary reduction contributions) that are due as of the date hereof have
been made to each Benefit Plan and have been or are fully deductible under the Code.




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               (i)     With respect to any insurance policy providing funding for benefits under
any Benefit Plan, there is no Liability of Seller in the nature of a retroactive rate adjustment, loss
sharing agreement or other actual or contingency Liability.

               (j)    Neither the execution and delivery of this Agreement (alone or together with
any other event which, standing alone, would not by itself trigger such result) nor the
consummation of the transactions contemplated hereby shall result in, cause the accelerated
vesting, funding or delivery of, or increase the amount or value of, any payment or benefit due
under any Benefit Plan.

              (k)    Seller is not party to any agreement that creates an obligation to make any
payments that reimburse or otherwise gross up any Person for any Taxes imposed under Sections
409A or 4999 of the Code.

               (l)     No amount that could be received (whether in cash or property or the vesting
of property) as a result of any of the transactions contemplated by this Agreement by any
employee, officer or director of Seller who is a “disqualified individual” (as such term is defined
in the Treasury Regulation Section 1.280G-1) under any employment, severance or termination
agreement, other compensation arrangement or Benefit Plan currently in effect would be
characterized as an “excess parachute payment” (as such term is defined in Section 280G(b)(1) of
the Code).

             (m)     No Benefit Plan provides benefits to any individual who is not a current or
former employee of Seller, or the dependents or other beneficiaries of any such current or former
employee.

        Section 3.8.        Employment Matters.

                (a)    Section 3.8 of the Disclosure Schedule contains a list of all Employees,
contractors, whether engaged individually or through a staffing service or other provider, and other
service providers of Seller as of the date hereof and sets forth for each such individual the following
as of the date hereof: (i) title or position (including whether full or part time); (ii) hire date; (iii)
annual base compensation or hourly rate; (iv) commission, bonus or other incentive-based
compensation; (v) work location; (vi) leave status; (vii) exempt/non-exempt classification, (viii)
accrued vacation, and (ix) a description of any material fringe benefits provided to each such
individual. Such information shall be updated upon reasonable request by Buyer and five days
prior to the Closing Date.

                 (b)     Seller is not a party to or bound by any collective bargaining, works council
or other agreement with a labor organization or representative covering the Employees, and there
are no ongoing or threatened, and have not been in the past three years, any union organizing
activities, strikes, lockouts, slowdowns or work stoppages involving the Employees.

      Section 3.9. Labor Relations. Except as set forth in Section 3.9 of the Disclosure
Schedule, (a) Seller is, and has been for the past three years, in compliance with all applicable
Laws, Contracts, agreements, and policies relating to employment and terms and conditions of
employment, including Laws regarding wages and hours (including those regulating the timing of
payments, wage notices, classification of employees as exempt or non-exempt, payment of
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overtime and minimum wages, hours of work, and provision of mandated meal and rest breaks),
termination of employment (including any obligations pursuant to the Worker Adjustment and
Retraining Notification Act of 1988 (or similar laws) (the “WARN Act”), occupational safety and
health, classification of service providers as independent contractors, consultants or employees,
immigration, background checks, employment record retention, and paid and unpaid leave, (b)
there are no, and for the past three years have not been any, unfair labor practice charge or
complaints against Seller and to Seller’s Knowledge, no such charges or complaints are threatened,
and (c) there is no Action pending, and have been no Actions in the past three years, against Seller
alleging violations of any employment Laws, or brought by or on behalf of any current or former
Employee or other service provider.

        Section 3.10. Litigation. Except as set forth in Section 3.10 of the Disclosure Schedule,
there is no Action pending or, to Seller’s Knowledge, threatened against or affecting any of
Burkhart, Van Ortwick or Seller relating to or affecting the Purchased Assets, the Business or the
Assumed Liabilities. There are no outstanding orders, writs, judgments, decrees, injunctions or
settlements (collectively, “Orders”) rendered against Burkhart, Van Ortwick or Seller that restrict
the Business, the Purchased Assets or the Assumed Liabilities or to which any of the foregoing is
subject.

        Section 3.11. No Violation of Law; Permits.

                 (a)    Seller is and has been in compliance in all material respects with, and is not
in violation, in any material respect, of, all Laws applicable to the Business, the Purchased Assets
or the Assumed Liabilities and Seller has not received written notice of any noncompliance with,
or violation of, any such Laws, including, for purposes of specificity and not by way of limitation,
compliance with all applicable product safety, energy efficiency and conservation standards. To
Seller’s Knowledge, no event has occurred that shall (with or without notice or lapse of time)
constitute or result in a violation, in any material respect, by Seller of, or a failure on the part of
Seller to comply with, any Law that is applicable to the Business, any of the Purchased Assets or
the Assumed Liabilities. Seller has not received any written notice (or, to Seller’s Knowledge,
other communication) from any Person regarding any actual or possible violation of, or failure to
comply with, any Law that is applicable to the Business, any of the Purchased Assets or the
Assumed Liabilities.

                (b)     All material reports, statements, documents, registrations, filings or
submissions required to be filed with any Governmental Authority or any Nationally Recognized
Testing Lab (NRTL), e.g., UL or ETL, to the extent they relate to the Business have been filed.
All such reports and filings were in compliance with applicable Laws when filed or as amended or
supplemented, and no deficiencies have been asserted by any such Governmental Authority or
NRTL with respect to such reports and filings. Any and all certifications or listing reports required
by law and/or to support product markings are up to date, relevant to the products as they are
currently sold, and apply the correct standards for those products.

               (c)    Seller has not applied for or received, is and will be entitled to, or is and
will be the beneficiary of any grant, subsidy or financial assistance from any Governmental
Authority in connection with the Business.


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               (d)     The Purchased Assets include all Permits that are now, or at the time of the
Closing will be, used or held for use in or otherwise related to or necessary for the conduct of the
Business as currently conducted and the Purchased Assets, and all such Permits are listed in
Section 3.11(d) of the Disclosure Schedule (collectively, the “Business Permits”). All Business
Permits have been legally obtained and maintained and are in full force and effect. None of Seller,
the Business or any of the Purchased Assets is in violation of, in any material respect, or is being
operated in violation of, in any material respect, the terms of any Business Permit.

        Section 3.12. Title to Purchased Assets; Encumbrances. Seller has good, valid and
marketable title to, or good, valid and subsisting leasehold interests in, all of the Purchased Assets,
free and clear of all Encumbrances, other than Permitted Encumbrances, and, at the Closing, will
convey to Buyer good, valid and marketable title to, or good, valid and subsisting leasehold
interests in, all of the Purchased Assets, free and clear of all Encumbrances, other than Permitted
Encumbrances.

        Section 3.13. Entire Business; Sufficiency. The Purchased Assets constitute all of the
assets, properties and rights used in or necessary for the conduct of the Business as heretofore
conducted by Seller (except for the Excluded Assets) and are adequate to conduct the Business as
presently conducted. Other than the items set forth in the Transition Services Agreement,
immediately following the Closing, neither Seller nor any of its Affiliates will own or lease any
assets, properties or rights that are necessary for the conduct of the Business. Other than the items
set forth in the Transition Services Agreement, there are no facilities, services, assets or personal
properties that are used by Seller in the conduct or operation of the Business and that are not
required to be transferred to Buyer pursuant to the provisions of this Agreement or the Transaction
Documents other than the Excluded Assets. Upon consummation of the transactions contemplated
by this Agreement, Buyer will have acquired good and marketable title in and to, or a valid
leasehold interest in, each of the Purchased Assets free and clear of all Encumbrances other than
Permitted Encumbrances.

       Section 3.14. Solvency. Seller is not, and immediately prior to and following the transfer
of the Purchased Assets to Buyer will not be, insolvent, as determined under any applicable
bankruptcy, insolvency, fraudulent conveyance of similar Laws of any applicable jurisdiction.

        Section 3.15. Insurance. Section 3.15 of the Disclosure Schedule sets forth a complete
and correct list of all insurance policies (other than insurance policies that provide benefits under
any Benefit Plan) held by or on behalf of Seller relating to the Business, including the policy
number and period of coverage. Seller has delivered to Buyer a complete and correct copy of all
such policies together with all riders and amendments thereto. The insurance policies listed on
Section 3.15 of the Disclosure Schedule include all policies of insurance that are required by the
Purchased Contracts in the amounts required under such Purchased Contracts. All the insurance
policies listed on Section 3.15 of the Disclosure Schedule are in full force and effect, all premiums
due and payable thereon covering all periods up to and including the Closing Date have been paid
and no notice of cancellation or termination has been received or, to Seller’s Knowledge,
threatened with respect to any such policy. To Seller’s Knowledge, no insurer is in breach of its
obligations under any such policy nor has any such insurer made a general assignment for the
benefit of its creditors, filed a petition in bankruptcy or liquidation or commenced any proceeding
for a reorganization or arrangement of debts. The Purchased Assets and the properties and risks

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of the Business are covered by valid and currently effective insurance policies issued specifically
for the benefit of the Business, in each case with reputable insurance companies.

        Section 3.16. Material Contracts.

                (a)    Section 3.16 of the Disclosure Schedule sets forth, by reference to the
applicable subsection of this Section 3.16, each Contract (and in the case of an oral Contract, the
material terms of such Contract) relating to the Business to which Seller is a party or to which any
of the assets of the Business are bound, including any Contract:

                        (i)      relating to the Indebtedness of the Business, the guarantee of the
repayment of Indebtedness of the Business or the grant of any Encumbrance on any property or
asset of the Business, including the Purchased Assets;

                    (ii)    providing for the employment of any Person, including Persons
employed as temporary employees or as consultants;

                        (iii)    containing covenants limiting the freedom of Seller to compete in
any line of business or with any Person or in any geographic area or market or containing any such
covenants that would bind Buyer or any part the Business following the Closing;

                      (iv)      concerning any Business Intellectual Property, including the
development, acquisition or licensing thereof;

                    (v)       with any current or former manager, director, officer, employee,
member or shareholder of Seller or its Affiliates;

                      (vi)     providing for the future or ongoing purchase, maintenance or
acquisition, or the sale or furnishing, of materials, components, supplies, software, services,
merchandise or equipment in excess of $100,000;

                        (vii)    granting to any Person a right of first refusal, first offer or similar
preferential right to purchase or acquire any right, asset, property or service of Seller;

                     (viii)    pertaining to the lease of equipment or other personal property
involving payments in excess of $100,000;

                            (ix)   providing for any offset, countertrade or barter arrangement;

                      (x)      containing a “most favored nation,” “most favored customer,”
“most favored licensee,” exclusivity or similar provision;

                        (xi)      involving a distributor, sales representative, agent, broker or
advertising arrangement that (A) involves payments of more than $100,000 during any 12-month
period, (B) is located outside of the United States or Canada or (C) regardless of the amounts
payable thereunder, by its express terms is not terminable by Seller at will or by giving notice of
thirty (30) days or less, without Liability;


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                     (xii)            with any customer that involves payments of more than $100,000
during any 12-month period;

                        (xiii)    involving Tax sharing, a joint venture or partnership or the sharing
of profits, Losses, costs or Liability by Seller with any other Person;

                       (xiv)     involving management services, consulting services, support
services or any other similar services;

                      (xv)      involving the acquisition or disposition of any business enterprise
whether via stock or asset purchase or otherwise;

                            (xvi)     granting a power of attorney to any Person;

                            (xvii)    providing for a business alliance or commission payments to any
third party;

                            (xviii)   involving any Governmental Authority;

                       (xix)     involving the export of any goods from the United States or
Canada to outside of those countries (including to the other) or the import of any goods from
outside of the United States or Canada including from United States to Canada or vice versa;

                       (xx)    providing for a lease, sublease, license or occupancy agreement,
together with all amendments or supplements thereto, with respect to Leased Real Property
(collectively, “Real Property Leases”) or involving the lease of personal property and involving
annual payments in excess of $100,000 relating to personal property used in operation of the
Business;

                       (xxi)          involving a material settlement or compromise of any Action
relating to the Business;

                        (xxii)   that provides for future payments or a purchase from the Business
that is conditioned, in whole or in part, on a change of control of the Business;

                            (xxiii)   that was not made in the ordinary course of business, consistent
with past practice;

                         (xxiv) that provides for the warranty of goods or services purchased by
Seller in relation to the Business; and

                       (xxv)     that is otherwise material to the Business or the Purchased Assets
(the contracts described in clauses (i)-(xxv) are each, a “Material Contract” and collectively, the
“Material Contracts”).

               (b)    Seller has provided to Buyer true and complete copies of each Material
Contract, as amended through the Closing Date. Each Material Contract is a valid, binding and
enforceable obligation of Seller and, to Seller’s Knowledge, the other parties thereto, enforceable

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in accordance with its terms. With respect to the Material Contracts listed on Section 3.16 of the
Disclosure Schedule (or required to be listed on Section 3.16 of the Disclosure Schedule), (i) Seller
is not in default under or in violation of any Material Contract, (ii) no event has occurred that, with
notice or lapse of time or both, would constitute such a default or violation, (iii) Seller has not
waived or released any of its rights under any Material Contract, and (iv) no party to a Material
Contract has repudiated any of the terms thereof or threatened to terminate, cancel, not renew or
otherwise materially amend, any Material Contract, and Seller has no reason to believe that any
party presently intends to do so.

        Section 3.17. Tangible Personal Property. The Tangible Property is in good operating
condition and is adequate and suitable to conduct the Business as currently conducted, subject to
continued repair and replacement in accordance with past practice, and Seller has not received
notice that any of the Tangible Property is in violation, in any material respect, of any existing
Law or Order of any Governmental Authority. During the past three years there has not been any
interruption of the operations of the Business due to inadequate maintenance or repair of the
Tangible Property. No approval or consent of any Person is needed so that the interest of Seller in
the Tangible Property will continue to be in full force and effect and enforceable by Buyer
following the Closing.

         Section 3.18. Receivables; Disputed Accounts Payable. All Receivables reflected on the
Financial Statements are, and all Receivables arising from or otherwise relating to the Business
will, at the Closing Date, be valid and genuine arising in the ordinary course of business from bona
fide sales of products and services in the aggregate amount thereof subject to normal and customary
trade discounts, customer allowances for discounts, returns, markdowns, co-op advertising and
operational chargebacks, less any bona fide reserves for doubtful accounts in amounts consistent
with those recorded on most recent balance sheet included in the Financial Statements.

        Section 3.19. Intellectual Property; Privacy and Information Technology.

                 (a)      Section 3.19(a) of the Disclosure Schedule sets forth, with owner, countries,
registration and application numbers and dates indicated, as applicable, and in the case of
unregistered trademarks, country of use and date of first use, a complete and correct list of all of
the following Business Intellectual Property: (i) patents and applications therefor; (ii) registered
copyrights and applications therefor; (iii) registered trademarks, material unregistered trademarks,
and applications for the registration of trademarks; (iv) Software; (v) social media account
addresses/handles, domain name registrations and applications therefor, including the registrant
name and applicable registration expiration date; and (vi) all licenses or similar agreements related
to Intellectual Property to which Seller is a party (including agreements or consents that restrict
the territory or field of use with respect to any of the Intellectual Property included in the Purchased
Assets, but excluding licenses for commercially available off-the-shelf Software). All fees
associated with any Business Intellectual Property required to have been set forth on Section
3.19(a) of the Disclosure Schedule have been paid in full in a timely manner to the proper
Governmental Authority and, except as set forth on Section 3.19(a) of the Disclosure Schedule, no
such fees are due within the three-month period after the Closing Date. Except as set forth on
Section 3.19(a) of the Disclosure Schedule, all of the Business Intellectual Property required to be
listed thereon has been duly registered with, filed in or issued by, as the case may be, the United
States Patent and Trademark Office, the United States Copyright Office or other applicable filing

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office(s), domestic or foreign, to the extent necessary or desirable to ensure full protection under
any applicable Intellectual Property law, and such registrations, filings, issuances and other actions
remain in full force and effect.

                (b)    Except as otherwise set forth on Section 3.19(b)(i) of the Disclosure
Schedule, all of the Intellectual Property used in the conduct of the Business is owned solely by
Seller and Seller has the exclusive right to use and possess such Intellectual Property for the life
thereof for any purpose, free from (i) any Encumbrances (except for Permitted Encumbrances) and
(ii) any requirement of any past, present or future royalty payments, license fees, charges or other
payments or conditions or restrictions whatsoever. Except as set forth on Section 3.19(b)(ii) of
the Disclosure Schedule, Seller has not licensed or otherwise granted any right to any Person under
any Business Intellectual Property and has not otherwise agreed not to assert any Business
Intellectual Property against any Person.

                (c)    Except as set forth on Section 3.19(c) of the Disclosure Schedule, all
Employees have received a copy, and acknowledged their agreement in writing regarding the
substance, of Seller’s Employee Handbook, a true and correct copy of which has been provided to
Buyer (the “Employee Handbook”), which Employee Handbook provides, among other things,
that all Employees are deemed to be performing “work for hire” for Seller. No manager, director,
officer, member, shareholder, employee, consultant, contractor, agent or other Representative of
Seller owns or claims any rights in (nor has any of them made application for) any Business
Intellectual Property and all such individuals have executed written agreements pursuant to which
Business Intellectual Property has been assigned to Seller.

                 (d)    The Business as historically and currently conducted, including the
possession, use, disclosure, copying or distribution of any information, data, products or other
Tangible Property or intangible property, including the Business Intellectual Property, has not
infringed, misappropriated, diluted, violated or otherwise conflicted with, does not and will not
infringe, misappropriate, dilute, violate or otherwise conflict with any Intellectual Property right
of any other Person nor does or will the operation of the Business, as currently conducted,
constitute unfair competition or deceptive or unfair trade practice. To Seller’s Knowledge, The
Business Intellectual Property is not being infringed or otherwise used or available for use by any
Person other than Seller and customers or end users in the ordinary course of business. To Seller’s
Knowledge, the Business Intellectual Property is not being infringed or otherwise used or available
for use by any Person other than Seller and customers or end users in the ordinary course of
business. Further, to Seller’s Knowledge, no other party is using, owns, or could claim to own,
rights in Intellectual Property which presents a significant threat (even if as of yet unasserted) to
Seller’s conduct of the Business.

                (e)     Seller has taken all steps reasonable under the circumstances to enforce,
protect and maintain the Business Intellectual Property, including protecting the confidentiality of
trade secrets and other proprietary information. All of the Business Intellectual Property is
subsisting, valid and enforceable. No loss or expiration of any of the Business Intellectual Property
is threatened, pending or, to the Knowledge of Seller, reasonably foreseeable (other than patents
expiring at the end of their respective statutory terms).



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                 (f)    Except as set forth on Section 3.19(f) of the Disclosure Schedule, no Action
is pending or threatened that (i) challenges the rights of Seller in respect of any Intellectual
Property utilized in the Business, (ii) asserts that the operation or conduct of the Business is, was
or will be infringing or otherwise in violation of any Intellectual Property, or is required to pay
any royalty, license fee, charge or other amount with regard to any Intellectual Property, or
(iii) claims that any default exists under any Material Contract set forth or required to be set forth
on Section 3.16(a)(iv) of the Disclosure Schedule. Except as set forth on Section 3.19(f) of the
Disclosure Schedule, none of the Business Intellectual Property is or has been subject to any Action
or other order, injunction, judgment or ruling issued by a court of competent jurisdiction restricting
the use or enjoyment of such Business Intellectual Property by Seller, and Seller has not been
subject to any Action or other order, injunction, judgment or ruling issued by a court of competent
jurisdiction relating to the Business in respect of any other Person’s Intellectual Property.

                (g)      Seller has materially complied at all times with all relevant requirements of
any applicable data protection and privacy related Laws, order or industry standard setting
organizations, including compliance with Seller’s own data protection principles, requests from
data subjects for access to data held by Seller and any Law, order or industry standard requirements
relating to the registration of data users insofar as the same pertain to any aspect of the Business.
Seller has not received any order or other notification from a Governmental Authority regarding
non-compliance or violation of any data protection principles or Law. No Person has claimed any
compensation from Seller for the loss of or unauthorized disclosure or transfer of personal data,
and no facts or circumstances exist that might give rise to such a claim insofar as the same relate
to the Business.

                 (h)    The products and services of the Business have not and do not use Open
Source Materials in such a way that grants, or purports to grant, to any third party any rights or
immunities under any Business Intellectual Property (including using any Open Source Materials
that require, as a condition of use, modification and/or distribution of such Open Source Materials
that other Software incorporated into, derived from or distributed with such Open Source Materials
be (i) disclosed or distributed in source code or other human readable form, (ii) licensed for the
purpose of making derivative works, or (iii) redistributable at no charge).

                (i)     In the collection and processing by Seller of any Personal Data, Seller, and,
to Seller’s Knowledge, its Confidential Data Processors and its Personal Data Suppliers have
complied in all material respects with all applicable Information Privacy Laws, the Privacy
Policies of Seller and, to the extent obligated by Contract to do so, the Privacy Policies of Personal
Data Suppliers. Seller has taken commercially reasonable measures to prevent unauthorized use,
access or alteration of Confidential Data in its possession or control, which measures are in
material compliance with applicable Privacy Policies and Laws concerning privacy, data security,
or data breach notifications. Without limiting the foregoing, (i) Seller, and, to Seller’s Knowledge,
its Personal Data Suppliers have acquired all necessary consents from Data Subjects for the use of
all Personal Data Processed by Seller and otherwise have all requisite legal authority to Process
Personal Data in the manner it is now Processed by Seller or any Personal Data Processor on behalf
of Seller and (ii) with respect to all Personal Data in the databases of notification contacts owned
or licensed by Seller, and, to Seller’s Knowledge, their Personal Data Suppliers have acquired
requisite consents from Data Subjects to Process such Personal Data in the manner it is now
Processed by Seller or any Personal Data Processor on behalf of Seller

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                (j)    Except as set forth on Section 3.19(i) of the Disclosure Schedules, to the
extent that Seller Processes any financial account numbers (such as credit cards, bank accounts,
PayPal accounts or debit cards), passwords, CCV data or other related data (“Cardholder Data”),
Seller has implemented commercially reasonable information security procedures, processes and
systems that have at all times met or exceeded all applicable Laws related to the Processing of
Cardholder Data, including those established by applicable Governmental Authorities, and the
Payment Card Industry Standards Council (including the Payment Card Industry Data Security
Standard).

                (k)     Seller has at all times presented a Privacy Policy which complies with
applicable Information Privacy Laws to consumers prior to the collection of any Data online. Such
Privacy Policies, and any other representations, marketing materials and advertisements that
address privacy issues and the treatment of Data, accurately and completely describe Seller’s
information collection and use practices, including reasonable safeguards in place designed to
protect the privacy, security, and integrity of all Data, and no such notices or disclosures have been
inaccurate, misleading or deceptive.

                (l)     Seller does not sell, rent or otherwise make available to any person any
Personal Data, except in a manner that complies in all material respects with the applicable Privacy
Policies and in material compliance with Information Privacy Laws. The execution, delivery and
performance of this Agreement and the transactions contemplated herein, including any transfer
of Personal Data resulting from the execution, deliver and performance of this Agreement,
complies, and will comply with, all Information Privacy Laws, the Privacy Policies of Seller, and,
to the extent obligated by contract to do so, the Privacy Policies of Personal Data Suppliers. Except
as set forth in Section 3.19(k)(i) of the Disclosure Schedules, the transfer of Personal Data in
connection with the transactions contemplated pursuant to this Agreement do not, and will not,
require the consent of a Data Subject, notice to a Data Subject or other action by any Person with
regard to a Data Subject under the Privacy Policies of the Seller or the applicable Information
Privacy Laws governing the collection, use, sale, and transfer of Personal Data. Except as set forth
in Section 3.19(k)(ii) of the Disclosure Schedules, no Data Subject has submitted, without regard
to form or Seller’s validation, under the Information Privacy Laws of the jurisdiction governing
the collection, use, sale, and transfer of the Personal Data in connection with the transactions
contemplated pursuant to this Agreement, (i) an opt out request that would prohibit the lawful
transfer of the relevant Personal Data, (ii) a deletion request that would require the destruction of
the relevant Personal Data, (iii) a correction request that would require the amendment of the
relevant Personal Data, or (iv) a request to produce the relevant Personal Data to the requesting
Data Subject.

                (m)     Seller has not received any notice that they are or have been in material
breach of any contractual obligation to limit its use of, secure or otherwise safeguard Confidential
Data, and, to Seller’s Knowledge, no such breach or violation has occurred within the applicable
statute of limitation for a claim arising out of such a breach or violation. Seller has in place and
follow commercially reasonable procedures designed to ensure that all written contracts with
Confidential Data Processors require that such Confidential Data Processor Process Data in
compliance with the Information Privacy Laws, Seller’s Privacy Policies and Seller’s obligations
under any contract that governs the Processing of any Confidential Data.


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                 (n)     Except as set forth on Section 3.19(m) of the Disclosure Schedules, to
Seller’s Knowledge, (i) Seller has not experienced any unauthorized access to, disclosure, deletion
or other misuse of, any Personal Data in its possession or control (a “Security Incident”) or made
or been required to make any disclosure, notification or take any other action under any applicable
Information Privacy Laws in connection with any Security Incident, (ii) no Confidential Data
Processor has experienced any Security Incident or made or been required to make any disclosure,
notification or take any other action under any applicable Information Privacy Laws in connection
with any Security Incident with respect to any Confidential Data Processed by it for Seller, (iii) no
Personal Data Supplier has experienced any Security Incident or made or has been required to
make any disclosure, notification or take any other action under any applicable Information
Privacy Laws in connection with any Security Incident with respect to any Personal Data provided
by it to Seller. Seller has made all notifications to customers or individuals required to be made by
Seller under any applicable Information Privacy Laws arising out of or relating to any event of
unauthorized access to or disclosure or acquisition of any Personal Data by any person of which
Seller have Knowledge.

                (o)     No Action before any court, administrative body or Governmental
Authority has been filed or commenced against Seller nor, to Seller’s Knowledge, threatened
against Seller, alleging any failure to comply with any Information Privacy Laws, and Seller has
not incurred any material Liabilities under any Information Privacy Laws. To Seller’s Knowledge,
no Action has been filed, commenced or threatened against any Personal Data Supplier or
Confidential Data Processor with respect to any Personal Data supplied to or Confidential Data
Processed for the Business.

        Section 3.20. Real Property.

                 (a)        Seller does not own any real property.

                  (b)     Section 3.20(b) of the Disclosure Schedule sets forth a correct and complete
list of all real property that is currently leased, licensed, subleased or otherwise used by Seller (the
“Leased Real Property”). All of the Leased Real Property is used or occupied by Seller pursuant
to a Real Property Lease.

                (c)      Other than as set forth on Section 3.20(c) of the Disclosure Schedule, no
other real property is leased, licensed, subleased or otherwise used in connection with the Business.

                 (d)    The occupancy, use and operation of the Real Property complies in all
material respects with all applicable Law and Permits. The condition and use of the Real Property
in all material respects conforms to each applicable certificate of occupancy and all other permits
required to be issued in connection with the Real Property. The Real Property and the appurtenant
easements include all of the land, buildings, offices, structures, appurtenant easements and other
improvements used or held for use in connection with or otherwise required to carry on the
Business.

              (e)    Seller enjoys peaceful and undisturbed possession of the Real Property. To
Seller’s Knowledge, all of the buildings, fixtures and structures located on the Real Property and



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used or occupied by Seller are in good condition and repair (subject to ordinary wear and tear) and
operating condition for the conduct of the Business as currently conducted.

               (f)       Except as set forth on Section 3.20(g) of the Disclosure Schedule, the Real
Property is not subject to any subleases, licenses, or sub-tenancies of any kind, and no Person
(other than Seller) is in possession of any of the Real Property.

        Section 3.21. Environmental Matters.

                 (a)     (i) Seller possesses all Permits required by applicable Laws relating to
Environmental Laws, (ii) Seller and operations of the Business are and have been since January 1,
2016 in full compliance with all terms and conditions of such Permits and all Environmental Laws,
and (iii) there are no current circumstances which could reasonably be expected to give rise to any
material Liability, obligation or duty in relation to any non-compliance with Environmental Laws.

               (b)    Seller has not received any written request for information, notice, demand
letter, notice of investigation, administrative inquiry or complaint or claim relating to any
Environmental Condition or Liability under any Environmental Law.

                (c)    Except as has been fully resolved with no further Liability, there are no
threatened orders, writs, judgments, awards, injunctions or decrees of any Governmental Authority
or Actions with respect to any non-compliance with, or any Liability under Environmental Laws
or under Contracts concerning Environmental matters relating to current or past circumstances
against Seller or the Business.

               (d)     To the extent that that any of the Real Property or any building, plant,
machinery, equipment or other assets employed in the conduct of the Business contains any
asbestos or asbestos containing material which is regulated by Environmental Law, such asbestos
or asbestos containing material is currently being managed in compliance with Environmental
Law.

               (e)     There has been no Release of any Hazardous Substance at, on, under, or
migrating from any properties currently or formerly owned, leased or operated by Seller or the
Business that requires or shall require reporting, investigation, assessment, clean-up, remediation
or any other response action pursuant to any Environmental Law or any Contract.

               (f)    None of Seller or the Business has assumed, undertaken, agreed to
indemnify, or otherwise become subject to any Liability of any other Person relating to or arising
from any Environmental Law or Environmental Matter.

              (g)    To Seller’s Knowledge, no Real Property will require a material capital
expenditure or material annual operating expense increase during the two years following the
Closing to comply with any Environmental Law.

              (h)    Seller has made available to Buyer true and complete copies of any and all
material documents, correspondence, pleadings, reports, assessments, analytical results, Permits
relating to Environmental Laws, or other documents concerning Environmental Laws or the
presence of Hazardous Substances as contamination in the air, soil and, surface water, groundwater

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and subsurface or subsurface strata of any Real Property, which could reasonably be expected to
give rise to Environmental Loss.

              (i)     Seller warrants that none of the Products contains any per- and
polyfluoroalkyl substances (PFAS), as defined in 40 CFR §705.3 of the U.S. Environmental
Protection Agency’s (EPA) proposed rule requiring PFAS reporting and recordkeeping under
TSCA Section 8(a)(7), 86 Fed. Reg. 33926, 33936-37 (Jun. 28, 2021); and that neither Seller nor
any Subsidiary of Seller has manufactured, imported, marketed, sold, distributed, installed, or
exported any products, mixtures, or items containing PFAS.

                 (j)     Except as set forth in Section 3.21(j) of the Disclosure Schedule, there are
no past or present (or to the best of Seller’s knowledge, future) events, conditions, circumstances,
activities, practices, incidents, actions, or plans that (i) may interfere with or prevent compliance
or continued compliance with the Environmental Laws as may apply to PFAS or any regulation,
code, plan, order, decree, judgment, injunction, notice, or demand letter issued thereunder, or (ii)
may give rise to any common law or other legal liability, or any claim or action, based on, arising
from, or relating to activities involving PFAS, including but not limited to their manufacture,
processing, import, use, distribution, sale, release into the environment, discharge, or disposal.

        Section 3.22. International Trade Laws. The Seller has, at all times as to which the
applicable statute of limitations has not yet expired, conducted their transactions in accordance
with all applicable International Trade Laws. Without limiting the foregoing:

                (a)     the Seller has obtained, and is in compliance with, all export licenses,
license exceptions and other consents, notices, waivers, approvals, orders, authorizations,
registrations, declarations, classifications and filings with any Governmental Authority required
for (i) the export and re-export of products, services, Software and technologies and (ii) releases
of technologies and Software to foreign nationals located in the United States and abroad (“Export
Approvals”);

                (b)    there are no pending or, to the Seller’s Knowledge, threatened claims
against the Seller with respect to such Export Approvals;

                (c)     to the Seller’s Knowledge, there are no actions, conditions or circumstances
pertaining to the Seller’s import or export transactions that may give rise to any future claims;

               (d)    to the Seller’s Knowledge, no Export Approvals with respect to the
transactions contemplated hereby are required;

              (e)    neither the Seller, its Affiliates, their respective directors or officers, nor, to
Seller’s Knowledge, any employees or agents of the foregoing, is a Sanctions Target;

             (f)            the Seller has timely paid all customs duties under all applicable Customs
and Import Laws;

             (g)    the Seller has properly classified its imported goods as required under
Customs and Import Laws;


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               (h)    since the date that is five (5) years prior to the date hereof, the Seller has not
received written notice to the effect that a Governmental Authority claimed or alleged that the
Seller was not in compliance with International Trade Laws; and

                (i)    neither the Seller nor any of its Affiliates has made any voluntary
disclosures to, or has been subject to any fines, penalties or sanctions from, any Governmental
Authority regarding any past violations of International Trade Laws.

        Section 3.23. Casualties. Except as set forth on Section 3.23 of the Disclosure Schedule,
since December 31, 2020, neither the Business nor any Purchased Asset has been affected in any
way by or as a result of any flood, fire, mudslide, landslide, explosion or other casualty (whether
or not covered by insurance).

        Section 3.24. Product Warranties; Product Liability.

              (a)     Seller has provided to Buyer true and accurate copies of the standard terms
and conditions of the sale of products by Seller (containing applicable guaranty, warranty and
indemnity provisions).

                (b)    (i) Seller has not manufactured, sold or distributed any products that were,
at the time they were manufactured, sold or distributed, faulty or defective or did not comply with
any and all warranties or representations, including safety certification markings, expressly made
or implied by or on behalf of Seller and (ii) all products manufactured, sold, distributed, provided,
shipped or licensed by Seller and each service rendered by Seller has conformed with all applicable
safety standards, contractual commitments, warranties and Laws, and there are no material design,
manufacturing or other defects, latent or otherwise, in such products.

               (c)       All products manufactured, sold, distributed, provided, shipped or licensed
by Seller have complied with all requirements of Laws and regulation related to warning labels,
packaging, containers, and all other labeling requirements, including for clarification and not by
way of limitation, all labeling related to NRTLs and labeling as to efficiency, conservation or other
standards.

                (d)     Except as set forth in Section 3.24(d) of the Disclosure Schedule, in the five-
year period prior to the Closing Date, there has been no voluntary or mandatory product recall by
Seller or written notice of any Action for Liability or other claim made by any third party against
Seller (whether based on Contract or tort and whether relating to personal injury, including death,
property damage or economic Loss.

        Section 3.25. Product Registrations; Universal Product Codes.

              (a)     All information pertaining to, used in, or comprising the information and
documentation necessary for the Business Product Registrations is true and correct in all respects,
and complies with all applicable Laws and regulations.

               (b)     All applications, filings and records submitted to any Governmental
Authority to obtain the grant of the Business Product Registrations at all times have been truthful


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in all respects, not misleading or fraudulent and in compliance with all applicable Laws and
regulations.

               (c)     Seller has paid and is in good standing regarding all fees, mill assessments,
penalties, Taxes or other monetary obligations of any kind owed to any Governmental Authority
for the Business Product Registrations.

               (d)    There is no pending or, to Seller’s Knowledge, threatened Action by any
Governmental Authority or third party to cancel, suspend, revoke, terminate or challenge any of
the Business Product Registrations.

               (e)     No Person has been granted a right of first refusal or option to purchase
from Seller any of the Business Product Registrations.

               (f)    The UPC Codes are all of the universal product codes of Seller related to
the Business. Seller is not using the UPC Codes other than related to the Business. Seller has
provided a complete listing of all UPC Codes that it uses on its products. Seller warrants that it
has the rights to use all UPC Codes that it uses to identify its products and will execute all
documentation needed to transfer the right to those UPC Codes to Buyer on or before the Closing.

                 (g)     Seller represents and warrants that all products of the Business that either
(x) are electrical products, (y) contain electrical components, or (z) are pieces of electrical
equipment, are each approved by an accredited certification or evaluation agency for safety. Seller
has also responsibly obtained any such approvals that are required by applicable Laws, rules or
regulations. Section 3.25(g) of the Disclosure Schedule sets forth a list of all such approvals.
Seller warrants that all products of the Business match the corresponding safety and/or sanitation
listing report. Seller agrees that Buyer has the right but not responsibility to independently verify
the validity and accuracy of Seller’s third party certification file for supplier products.

               (h)     Section 3.25(h) of the Disclosure Schedule sets forth a complete and
accurate list of all safety data sheets with respect to all products of the Business containing
hazardous chemicals prior to shipment.

               (i)     Seller warrants that all products of the Business are accompanied by
comprehensive, conspicuous warnings that satisfy all applicable legal or regulatory requirements
and instructions for proper use that are written in plain and understandable language. Such
warnings are in all languages required by the countries in which such products are sold.

               (j)  Seller confirms that all products of the Business conform to all requirements
of the Federal Communications Commission of the United States.

        Section 3.26. Promotions and Allowances. Section 3.26 of the Disclosure Schedule sets
forth the material terms in effect as of the date hereof of all return, markdown, promotion, co-op
advertising and other similar programs or allowances offered generally by Seller to any customer
with respect to the Business.

        Section 3.27. Bank and Brokerage Accounts; Investment Purchased Assets. Section 3.27
of the Disclosure Schedule sets forth a true and complete list of (a) the names and locations of all

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banks, trust companies, securities brokers and other financial institutions at which Seller has an
account or safe deposit box or maintains a banking, custodial, trading or other similar relationship
with respect to any of the Purchased Assets (as well as a list of such accounts and safety deposit
boxes), (b) the names of all persons authorized to draw on or have access to such accounts and
safe deposit boxes, and (c) all outstanding powers of attorney or similar authorizations granted by
Seller.

       Section 3.28. Absence of Certain Business Practices. Neither Seller nor any of its
Representatives has, directly or indirectly, given or agreed to give any gift or similar benefit to any
customer, supplier, employee of any Governmental Authority or any other Person that could
reasonably be expected to subject the Business, Purchased Assets or Assumed Liabilities to any
material penalty in any civil, criminal or governmental litigation or proceeding.

        Section 3.29. Propriety of Past Payments. In connection with the Business, (a) no
unrecorded fund or asset of Seller has been established for any purpose, (b) no material
accumulation or material use of corporate funds of Seller has been made without being properly
accounted for in the books and records of the Business, (c) no payment has been made by or on
behalf of Seller with the understanding that any part of such payment is to be used for any purpose
other than that described in the documents supporting such payment, and (d) none of Seller, any
of its Representatives or any other Person associated with or acting for or on behalf of Seller has,
directly or indirectly, made any illegal contribution, gift, bribe, rebate, payoff, influence payment,
kickback or other payment to any Person, private or public, regardless of form, whether in money,
property or services, (i) to obtain favorable treatment for Seller in securing business, (ii) to pay for
favorable treatment for business secured for Seller, (iii) to obtain special concessions, or for special
concessions already obtained, for or in respect of Seller, or (iv) otherwise for the benefit of Seller
in violation of any Law, including the FCPA and other foreign anti-bribery and anti-corruption
laws. Neither Seller nor any current director, officer, agent, employee or other Person acting on
behalf of Seller, has accepted or received any unlawful contribution, payment, gift, kickback,
expenditure or other item of value in violation of any Law.

        Section 3.30. Customers and Suppliers. Section 3.30 of the Disclosure Schedule lists the
20 largest customers of the Business during the 12 months prior to the date hereof (measured in
terms of revenues during such period) and the 20 largest suppliers of the Business during the 12
months prior to the date hereof (measured in terms of total spend during such period). Seller has
not received within the 12 months prior to the date hereof any written or oral notice that (a) any of
the 20 largest customers of the Business or any of the 20 largest suppliers of the Business will
cease dealing with the Business or (b) that any of such 20 largest customers may otherwise reduce
or become unable for any reason to maintain the volume of business transacted by such customer
with the Business. Seller has not received within the 12 months prior to the date hereof any written
notice of a dispute, claim or other Action between the Business or Seller, on the one hand, and any
supplier or customer thereof, on the other hand, other than those occurring in the ordinary course
of business that are not material to the Business.

        Section 3.31. Brokers. Neither Seller nor any of its Affiliates, officers, directors,
managers or Employees has employed, retained or engaged any broker or finder or incurred any
Liability for any brokerage, finder’s or similar fees or commissions in connection with the
transactions contemplated by this Agreement and the Transaction Documents.

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        Section 3.32. Affiliate Transactions. Except as set forth on Section 3.32 of the Disclosure
Schedule, there are no agreements, Contracts or other arrangement by and between Seller and any
current or former manager, director, officer, employee, member or shareholder of Seller or its
Affiliates.

       Section 3.33. Restrictions on Business Activities. There is no Contract (including
covenants not to compete) or Order relating to the Business that has or would reasonably be
expected to have, whether before or after consummation of the transactions contemplated by this
Agreement and the Transaction Documents, the effect of prohibiting or impairing the conduct of
the Business as currently conducted.

        Section 3.34. Full Disclosure. No representation or warranty about the Business made in
this Agreement by Seller and no statement contained in the Disclosure Schedule or any certificate
or other document furnished or to be furnished to Buyer pursuant to this Agreement contains any
untrue statement of a material fact, or omits to state a material act necessary to make the statements
contained therein, in light of the circumstances in which they are made, not misleading.

                                             ARTICLE IV

                    REPRESENTATIONS AND WARRANTIES OF BUYER

               Buyer hereby represents and warrants to Seller as of the date hereof and as of the
Closing Date, as set forth in this Article IV:

        Section 4.1. Organization and Qualification. Buyer is a limited liability company duly
organized, validly existing and in good standing under the Laws of the State of Delaware and has
all requisite power and authority to own, license, use or lease and operate its assets and properties
and to carry on its business as it is now conducted.

        Section 4.2.        Authority; Non-Contravention; Approvals.

                (a)    Buyer has all requisite power and authority to execute and deliver this
Agreement and the Transaction Documents and to perform the transactions contemplated by this
Agreement and the Transaction Documents. The execution and delivery by Buyer of this
Agreement and the Transaction Documents and the performance by Buyer of the transactions
contemplated by this Agreement and the Transaction Documents have been duly authorized and
approved by the Board of Directors and the requisite shareholders, of Buyer and no other corporate
or other actions or proceedings on the part of Buyer or any other Person are necessary to authorize
the execution and delivery of this Agreement or the Transaction Documents or the performance
and consummation by Buyer of the transactions contemplated by this Agreement and the
Transaction Documents. This Agreement has been, and upon their execution the Transaction
Documents will be, duly executed and delivered by Buyer and, assuming the due authorization,
execution and delivery of this Agreement and the Transaction Documents by Seller and, with
respect to the Escrow Agreement, the Escrow Agent, constitutes and upon their execution the
Transaction Documents will constitute, valid and binding obligations of Buyer enforceable against
Buyer in accordance with their respective terms.



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                 (b)     The execution and delivery by Buyer of this Agreement and the Transaction
Documents and the performance of the transactions contemplated by this Agreement and the
Transaction Documents do not and will not (i) conflict with or result in a breach of any provisions
of the certificate of incorporation or bylaws of Buyer, (ii) result in a violation or breach of or
constitute a default (or an event which, with or without notice or lapse of time or both, would
constitute a default) under, or result in the termination of, or the loss of a benefit under or accelerate
the performance required by, or give rise to any obligation or result in a right to cancel, terminate
or accelerate any obligation under, the terms, conditions or provisions of any Contract of any kind
to which Buyer or any of its Subsidiaries or Affiliates is now a party or by which Buyer or any of
its Subsidiaries or any of their respective properties or assets may be bound or affected, or
(iii) violate any order, writ, injunction, decree, statute, treaty, rule or regulation applicable to Buyer
or any of its Subsidiaries, other than in the case of clauses (ii) and (iii) above as would not
reasonably be expected to result in a Buyer Material Adverse Effect.

                (c)    Except for the filings by Buyer required by the HSR Act, no declaration,
filing or registration with, or notice to, or authorization, consent, order or approval of, any
Governmental Authority is required to be obtained or made in connection with or as a result of the
execution and delivery of this Agreement and the Transaction Documents by Buyer or the
performance by Buyer of the transactions contemplated by this Agreement and the Transaction
Documents, other than such declarations, filings, registrations, notices, authorizations, consents or
approvals which, if not made or obtained, as the case may be, could not reasonably be expected to
result in a Buyer Material Adverse Effect.

        Section 4.3. Brokers. Neither Buyer nor any of their Affiliates, officers, directors,
managers or Employees has employed, retained or engaged any broker or finder or incurred any
Liability for any brokerage, finder’s or similar fees or commissions in connection with the
transactions contemplated by this Agreement and the Transaction Documents.

         Section 4.4. Sufficient Funds. Buyer possesses sufficient funds (through existing credit
facilities and cash on hand) to pay, and, with respect to the Purchase Price, will in the future possess
sufficient funds to pay, the Purchase Price and affirms that it is not a condition to Closing or any
of its other obligations under this Agreement that Buyer obtain financing for or related to payment
thereof.

        Section 4.5. Legal Proceedings. There are no Actions pending or, to Buyer’s
knowledge, threatened against or by Buyer or any Affiliate of Buyer that (i) challenge or seek to
prevent, enjoin or otherwise delay the transactions contemplated by this Agreement; or (ii) arise
out of the purchase of any company, division or entity including by way of asset purchase, stock
purchase, merger or business combination.

                                             ARTICLE V

                                            COVENANTS

        Section 5.1. Conduct of the Business. Since September 30, 2021, except as otherwise
expressly provided in this Agreement, Seller has operated the Business only in the ordinary course
of business consistent with past practice. During the period from the date of this Agreement to the

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Closing, except as otherwise expressly provided in this Agreement, Seller will operate the Business
only in the ordinary course of business. Seller will use commercially reasonable efforts to (a)
preserve intact the present organization of the Business, (b) keep available the services of the
present officers of the Business and Employees, and (c) preserve relationships with customers,
suppliers, licensors, licensees, contractors, distributors and others having business dealings with
the Business. Without limiting the generality of the foregoing, from the date of this Agreement to
the Closing, except as set forth in Section 5.1 of the Disclosure Schedule and other than with the
prior written approval of Buyer, Seller will not, to the extent related to the Business or any of the
Purchased Assets:

                 (a)     sell, pledge, lease, encumber, assign, transfer or dispose of, or authorize the
sale, pledge, lease, encumbrance, assignment, transfer or disposition of, any assets or rights or
acquire (including by merger, consolidation or acquisition of stock or assets) any assets or rights
that, in either case, are or would otherwise be Purchased Assets, other than sales of Inventory in
the ordinary course of business;

               (b)     abandon or allow to lapse any of the Business Intellectual Property, fail to
prosecute any pending applications for registration of any of the Business Intellectual Property or
fail to defend any third party claims of infringement related to any of the Business Intellectual
Property;

              (c)     disclose any Confidential Information of Seller relating to the Business or
the Purchased Assets to any Person outside of the ordinary course of busness;

                (d)    (i) make any material change to any pricing, marketing, sales, billing,
Receivables collection or payment practice of the Business, (ii) waive any rights in respect of or
write off any Receivables, or (iii) fail to timely pay any account payable of the Business, in each
case, except in the ordinary course of business;

               (e)     engage in any promotional sale, discount, pricing reduction or other activity
that would reasonably be expected to have the effect of accelerating sales of the Business for the
period of time prior to the Closing that otherwise would have occurred post-Closing;

              (f)     enter into any material commitment or transaction, including any
commitment to make any loan, advance or capital contribution to, or investment in, any other
Person with respect to the Business, in each case that would not be fulfilled in full prior to the
Closing;

              (g)     incur, create or assume any Indebtedness for borrowed money in excess of
$100,000 (other than letters of credit entered into or issued in the ordinary course of business) or
take or omit to take any action that results in an Encumbrance, other than a Permitted
Encumbrance, in excess of $100,000 (other than letters of credit entered into or issued in the
ordinary course of business), being imposed on any asset that may be a Purchased Asset;

                (h)     (i) make, change or rescind any election relating to Taxes, (ii) settle or
compromise or agree to compromise any claim, action, suit, litigation, proceeding, arbitration,
investigation, audit or controversy relating to Taxes, or consent to any extension or waiver of the
statute of limitations thereof, (iii) except as may be required by Law, make any change to any of
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its methods of reporting income or deductions for Tax purposes from those employed in the
preparation of its most recently filed Tax Returns, (iv) change any annual Tax accounting period,
(v) adopt or change any method of Tax accounting, (vi) amend any Tax Returns or (vii) obtain any
Tax ruling or enter into any closing agreement, in each of clauses (i) – (vii), to the extent related
to the Purchased Assets or the Business and that would reasonably be expected to affect Taxes of
the Business for any taxable period ending after the Closing Date;

                (i)     (i) except to the extent required by this Agreement or applicable Law, enter
into, adopt, amend or terminate employment, severance, termination or similar type of Contract,
collective bargaining agreement or Benefit Plan, except (A) for increases in base salaries in a
manner and amount consistent with past practice, or (B) as may be required by any Benefit Plan
in effect as of the date hereof or (ii) increase in any manner the compensation or benefits of any
officer, employee or consultant of Seller or pay or otherwise grant any benefit not required by any
Benefit Plan;

               (j)    effectuate a plant closing or layoff regardless of whether such action triggers
obligations under the WARN Act;

              (k)     hire any new employees of the Business or reassign or transfer any current
employee to or from the Business, except in the ordinary course of business;

               (l)     (i) make or commit to any capital expenditures, other than (A) those
provided in the forecast for the Business provided to Buyer prior to the date hereof and (B) such
expenditures with an aggregate cost not exceeding $100,000 or (ii) fail to make or commit to any
capital expenditures provided in the forecast for the Business provided to Buyer prior to the date
hereof;

                (m)   (i) enter into, amend or terminate any Contract of a type that, if in effect at
the date of this Agreement, would be required to be disclosed pursuant to Section 3.16(a) or (ii)
amend or modify or otherwise waive, release or assign any material rights, claims or benefits of
any Material Contract;

              (n)     pay, discharge or satisfy any Liabilities relating to the Business in excess of
$100,000, except in the ordinary course of business;

               (o)    settle or compromise any Action pending or threatened against Seller, the
Business or the Purchased Assets in excess of $100,000;

             (p)     enter into any transaction or any Contract with any Affiliate, current or
former managers, directors, officers, employees, members or shareholders of Seller relating to the
Business;

               (q)     license or grant any right to, or transfer, any of the Business Intellectual
Property, other than grants of non-exclusive licenses in the ordinary course of business; or

               (r)     take, or agree or otherwise commit to take, any of the foregoing actions or
any other action that if taken would cause any representation or warranty of Seller contained in
this Agreement to be untrue or incorrect as of the date when made or as of any subsequent date (as

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if made as of such date) or that could prevent the satisfaction of any condition set forth in Article
VI.

       Section 5.2. Use of Name. Seller agrees that from and after the Closing it will not use
the names “Luxx” or “Luxx Lighting” in any form whatsoever, including in respect of advertising
and promotional materials.

        Section 5.3.        Tax Matters.

                (a)    Buyer, at Buyer’s expense, shall prepare and file or cause to be prepared
and filed when due all periodic non-income Tax Returns (each, a “Straddle Period Return”) with
respect to the Purchased Assets for Tax periods which begin before the Closing Date and end after
the Closing Date (each such period, a “Straddle Period”) in a manner consistent with Seller’s past
practice, except as otherwise required by applicable Law, and in accordance with the provisions
of this Agreement. Seller shall pay to Buyer no later than three Business Days prior to the due
date of the Taxes shown as due and owing on any such Tax Return, an amount of such Taxes equal
to the amount of such Taxes for the entire taxable period multiplied by a fraction, the numerator
of which is the number of days in the Tax period ending on and including the Closing Date and
the denominator of which is the number of days in the entire taxable period, except to the extent
such amount was taken into account as a liability in the calculation of Final Closing Date Net
Working Capital.

                 (b)    Buyer shall bear all transfer, documentary, sales, use, stamp, registration
and other such Taxes and fees (including any penalties and interest thereon) incurred in connection
with the transactions contemplated by this Agreement (collectively, “Transfer Taxes”), subject
to a limit of $100,000, above which Seller shall bear all Transfer Taxes. The Parties shall cooperate
as reasonably requested to minimize such Transfer Taxes, including with respect to any available
exemption from such Transfer Taxes. Seller will prepare and file or cause to be prepared and filed
as Tax Returns with respect to such Transfer Taxes, except as otherwise required by applicable
Law.

                (c)    To the extent the allocation of the Purchase Price (and other applicable
amounts for Tax purposes) among the Purchased Assets has not been agreed upon by Buyer and
Seller prior to the Closing, within sixty (60) days after the Closing Date, Buyer will engage
Citizens Banks, N.A. (the “Valuation Expert”) to conduct a valuation analysis of the Purchased
Assets (and other relevant amounts for Tax purposes). The Valuation Expert will determine the
valuation of the Purchased Assets (and other relevant amounts for Tax purposes) based on their
independent, professional judgment. Following the Valuation Expert’s delivery of the final
valuation report (and in any event within 120 days after the determination of the Final Closing
Date Net Working Capital pursuant to Section 2.10(d)) Buyer shall deliver to Seller a statement
(the “Asset Allocation Statement”) of the allocation of the Purchase Price (and other applicable
amounts for Tax purposes) among the Purchased Assets in accordance with the Valuation Expert’s
final valuation report and Section 1060 of the Code and the Treasury Regulations thereunder.
Buyer and Seller and each of their respective Affiliates shall: (i) be bound by the Asset Allocation
Statement for purposes of determining any Taxes; (ii) prepare and file, and cause their respective
Affiliates to prepare and file, their Tax Returns (including IRS Form 8594) on a basis consistent
with the Asset Allocation Statement; (iii) cooperate in the filing of any forms (including IRS Form

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8594) required to be filed with regard to the Asset Allocation Statement, including any
amendments to such forms required pursuant to any applicable Law or this Agreement; and (iv)
take no position, and cause their Affiliates to take no position, inconsistent with the Asset
Allocation Statement on any applicable Tax Return or in any proceeding before any Governmental
Authority or otherwise. If the Asset Allocation Statement is disputed by any Taxing Authority,
the Party receiving notice of the dispute shall promptly notify the other Party, and the Parties agree
(and shall cause their respective Affiliates) to use their reasonable best efforts to defend such Asset
Allocation Statement in any audit or other Action and not to settle or otherwise dispose of such
audit or other Action without the prior written consent of the other party (such consent not to be
unreasonably withheld, conditioned or delayed).

                (d)    On or prior to the Closing Date, Seller will notify all of the Government
Authorities responsible for the administration of Taxes for the jurisdictions set forth on Section
5.3(d) of the Disclosure Schedule of the transactions contemplated by this Agreement in the form
and manner required by such Governmental Authorities, if the failure to make any such notification
or receive available Tax clearance certificate from the California Franchise Tax Board ( “Tax
Clearance Certificate”) could subject Buyer to any Taxes of Seller. If, with respect to any
application for a Tax Clearance Certificate made pursuant to this Section 5.3(d), any Governmental
Authority asserts that Seller is liable for any Tax, Seller will promptly pay any and all such Taxes
and will provide evidence to Buyer that such Taxes have been paid in full or the Liability for such
Taxes has otherwise been resolved or satisfied.

                (e)     The Parties shall cooperate (and cause their respective Affiliates to
cooperate) fully, as and to the extent reasonably requested by the other parties, in connection with
the preparation and filing of Tax Returns (or amendments thereto) pursuant to this Section 5.3 and
any Tax audit, litigation or other proceeding with respect to Taxes and payments in respect thereof.
Such cooperation shall include the retention and (upon the other Parties’ request) the provision of
records and information which are reasonably relevant to any such Tax audit, litigation or other
proceeding and making employees available on a mutually convenient basis to provide additional
information and explanation of any material provided hereunder. Each of the Parties shall furnish
the other Parties with copies of all relevant correspondence received from any Governmental
Authority in connection with any Tax audit or information request with respect to any Taxes for
which any other party may have an indemnification obligation under this Agreement.

                (f)   All amounts paid in respect of indemnification under Article VIII shall be
treated for all Tax purposes as adjustments to the Purchase Price, except as other required by
applicable Law.

        Section 5.4.        Non-Competition; Non-Solicitation.

                (a)     As a material inducement to Buyer to enter into this Agreement, from the
Closing and for five (5) years thereafter, Burkhart, Van Ortwick, and Seller will not, directly or
indirectly through any Person anywhere in the world, (i) engage in, own any interest in, invest in,
lend funds to, operate, control or provide any management, consulting, financial, administrative,
supply, distribution or other services to any business that competes with the Business as conducted,
or as presently proposed to be conducted, directly or indirectly in any manner, or (ii) solicit, sell
or attempt to sell goods and services offered by the Business to any customer of the Business (or

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any successor) or induce or seek to induce any such Person to cease to do business with the
Business or otherwise vary the terms of its relationship with the Business; provided, however, that
notwithstanding the foregoing, each of Burkhart, Van Ortwick, and Seller may (i) collectively
own, directly or indirectly, solely as an investment, securities of any Person that are traded on any
national securities exchange or the NASDAQ Stock Market if Burkhart, Van Ortwick, and Seller
(alone or collectively) (A) are not a controlling Person of, or a member of a group that controls
such Person and (B) do not, directly or indirectly, own 2% or more of any class of securities of
such Person and (ii) dispose of items of Excluded Inventory in its possession as of the date hereof
for a period of six (6) months after the Closing Date (the “Sell Off Period”), in each case, solely
in the ordinary course, consistent with past practices; provided, that Burkhart, Van Ortwick, and
Seller make clear in any such sales or dispositions that such items of Excluded Inventory are not
associated with the Business, with Buyer or with the Luxx brand. Upon the expiration of the Sell
Off Period, Seller shall destroy all remaining Excluded Inventory.

                 (b)    From the Closing and for five (5) years thereafter, Burkhart, Van Ortwick
and Seller will not, directly or indirectly through any Person, (i) cause, solicit, induce or encourage
any Employees to leave such employment or (ii) cause, induce or encourage any material actual
or prospective customer, supplier or licensor of Seller as of the Closing Date, or any other Person
who has a material business relationship with Seller as of the Closing Date, to terminate or modify
any such actual or prospective relationship. The foregoing restrictions will not preclude (x) general
solicitations in newspapers or similar mass media not targeted toward Employees or (y) the
solicitation or hiring of any employee who for at least one year prior to the date on which such
solicitation or hiring would take place has terminated such employee’s employment with Seller (it
being conclusively presumed so as to avoid any disputes under this Section 5.4(b) that any such
solicitation or hiring within such one year period is in violation of clause (i) above).

                (c)    Neither party will make any disparaging or defamatory public comments
about any other party hereto or its Affiliates or their respective directors, managers and officers,
or to encourage or participate with anyone to make such statements or any such comments with
respect to the Business, Buyer or its Affiliates or their products. Buyer agrees and acknowledges
that the terms of this Section 5.4(c) do not prohibit Seller from making truthful statements, if
required to do so by Law or Action (including in connection with any Action relating to this
Agreement and the transactions contemplated hereby); provided, however, that if any such Person
is requested by Order to provide testimony which would otherwise violate the provisions of this
Section 5.4(c), such Person will promptly notify Buyer of such request.

               (d)       From and after the Closing, Seller will not and will cause its Affiliates and
their respective Representatives not to, directly or indirectly, disclose, reveal, divulge or
communicate to any Person, other than authorized officers, directors and employees of Buyer, or
use or otherwise exploit for its own benefit or for the benefit of anyone other than Buyer, any
Confidential Information. Seller and its Affiliates and their respective Representatives will not
have any obligation to keep confidential the Confidential Information if and to the extent
disclosure thereof is (i) specifically required by Law, except that in the event disclosure is required
by applicable Law, Seller will, to the extent reasonably permitted, provide Buyer with prompt
written notice of such requirement prior to making any disclosure so that Buyer may seek an
appropriate protective order; or (ii) the Confidential Information is publicly disclosed by someone


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other than Seller, Van Ortwick or Burkhart, other than any such disclosure in violation of an
obligiation of confidentiality with respect to such Confidential Information.

                 (e)     The Parties recognize that the Laws and public policies of the various states
of the United States may differ as to the validity and enforceability of covenants similar to those
set forth in this Section 5.4. It is the intention of the Parties that the provisions of this Section 5.4
be enforced to the fullest extent permissible under the Laws and policies of each jurisdiction in
which enforcement may be sought, and that the unenforceability (or the modification to conform
to such Laws or policies) of any provisions of this Section 5.4 will not render unenforceable, or
impair, the remainder of the provisions of this Section 5.4. Accordingly, if any provision of this
Section 5.4 is determined to be invalid or unenforceable, such invalidity or unenforceability will
be deemed to apply only with respect to the operation of such provision in the particular
jurisdiction in which such determination is made and not with respect to any other provision or
jurisdiction. The Parties (i) have carefully read and understand all of the provisions of this
Agreement and have had the opportunity for this Agreement to be reviewed by counsel and (ii)
acknowledge that the duration, geographical scope and subject matter of this Section 5.4 are
reasonable and necessary to protect the goodwill, customer relationships, legitimate business
interests, trade secrets and confidential information of the Parties.

                 (f)     From the Closing and for five (5) years thereafter, Burkhart, Van Ortwick
and Seller will not, directly or indirectly through any Person, take any action to encourage, initiate,
solicit or engage in any discussions or negotiations with Nicholls that would cause Nicholls not to
engage in an employment, consulting or other service provider relationship with Buyer or any of
its Affiliates, and will not otherwise take any action to circumvent the interests, intentions, plans
or proposed undertakings of the Buyer or any of its Affiliates in engaging Nicholls as an employee,
consultant or other service provider of Buyer or any of its Affiliates.

              (g)      The Parties to this Agreement acknowledge and agree that any remedy at
Law for any breach of the provisions of this Section 5.4 may be inadequate, and Seller hereby
agree that Buyer will have the right to seek equitable relief, including the issuance of a temporary
or permanent injunction by a court of competent jurisdiction.

        Section 5.5.        Non-Assignable Assets.

                (a)    Notwithstanding anything to the contrary in this Agreement, and subject to
the provisions of this Section 5.5, to the extent that the sale, assignment, transfer, conveyance or
delivery, or attempted sale, assignment, transfer, conveyance or delivery, to Buyer of any
Purchased Asset would result in a violation of applicable Law, or would require the consent,
authorization, approval or waiver of a Person who is not a Party to this Agreement or an Affiliate
of a Party to this Agreement (including any Governmental Authority), and such consent,
authorization, approval or waiver shall not have been obtained prior to the Closing, this Agreement
will not constitute a sale, assignment, transfer, conveyance or delivery, or an attempted sale,
assignment, transfer, conveyance or delivery, thereof; provided, however, that, subject to the
satisfaction or waiver of the conditions contained in Article VI, the Closing will occur
notwithstanding the foregoing without any adjustment to the Purchase Price on account thereof.
Following the Closing, Seller and Buyer will use commercially reasonable efforts, and will
cooperate with each other, to obtain any such required consent, authorization, approval or waiver;

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provided, however, that neither Party will be required to make any payments, incur any Liability
or offer or grant any accommodation (financial or otherwise) to any third party to obtain any such
consent, authorization, approval or waiver, other than the incurrence of incidental expenses
relating to obtaining any such consent, authorization, approval or waiver, except and only to the
extent that Buyer agrees to reimburse and make whole Seller for any payment or other
accommodation made by Seller at Buyer’s request. Once such consent, authorization, approval or
waiver is obtained, Seller will sell, assign, transfer, convey and deliver to Buyer the relevant
Purchased Asset to which such consent, authorization, approval or waiver relates for no additional
consideration. Applicable sales, transfer and other similar Taxes in connection with such sale,
assignment, transfer, conveyance or license will be borne equally by Buyer, on the one hand, and
Seller, on the other hand, in accordance with Section 5.3(b).

                (b)    To the extent that any Purchased Asset cannot be transferred to Buyer
following the Closing pursuant to this Section 5.5, Buyer and Seller will use commercially
reasonable efforts to enter into such arrangements (such as subleasing, sublicensing or
subcontracting) to provide to the Parties the economic and, to the extent permitted under applicable
Law, operational equivalent of the transfer of such Purchased Asset to Buyer as of the Closing and
the performance by Buyer of its obligations with respect thereto. To the extent permitted under
applicable Law, Seller will, at Buyer’s expense, hold in trust for and pay to Buyer promptly upon
receipt thereof, such Purchased Asset and all income, proceeds and other monies received by Seller
to the extent related to such Purchased Asset in connection with the arrangements under this
Section 5.5.

        Section 5.6.        Employee Matters.

               (a)    Offer of Employment. Buyer or one of its Affiliates, in their sole discretion,
shall make offers of employment to the employees of Seller set forth on Section 5.6(a) of the
Disclosure Schedule. Any such offers shall be made at least one week before the Closing. Upon
each such employee’s acceptance of such offer of employment, such employee shall become an
employee of Buyer or one of its Affiliates as of the Closing Date (and shall be referred to herein
as a “Transferring Employee”). The date on which each such Transferring Employee
commences employment with Buyer or one of its Affiliates shall be referred to herein as the
“Employment Commencement Date.” Seller shall provide Buyer with an opportunity to review,
revise and approve any formal written communications by Seller to the Employees regarding the
transactions contemplated by this Agreement and such Employees’ employment with Buyer or
one of its Affiliates as described herein, and Seller shall accept Buyer’s revisions to such
communications.

                 (b)        Terms and Conditions of Employment.

                       (i)       For a period of six (6) months following the Closing Date (the
“Continuation Period”), Buyer or its Affiliates shall employ each Transferring Employee on
terms and conditions that are reasonably comparable to the terms and conditions for each employee
provided by Seller to the Transferring Employee immediately prior to the Closing. In addition,
and without limiting the immediately preceding sentence, during the Continuation Period, Buyer
shall offer, or shall cause its Affiliates to offer, each Transferring Employee participation in
employee benefit plans, agreements, programs, policies and arrangements of Buyer or any of its

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Affiliates (the “Buyer Plans”) that shall be in the aggregate no less favorable than those offered
by Buyer to its similarly situated employees.

                         (ii)     For purposes of eligibility, level of benefits, vesting and benefit
accruals (other than benefit accruals under a defined benefit pension plan) under each Buyer Plan
in which the Transferring Employees become eligible to participate before the end of the
Continuation Period, Buyer or its Affiliates shall give each Transferring Employee full credit under
each such Buyer Plan for all service with Seller, its Affiliates and any predecessor employer prior
to the Closing to the same extent as such service was recognized for such purpose by Seller and/or
its Affiliates prior to the Closing under comparable Benefit Plans; provided, however, that such
service shall not be credited to the extent that it would result in a duplication of benefits.

                 (c)        General Employee Provisions.

                       (i)       Seller and Buyer shall cooperate in giving any notices required by
applicable Laws or contracts and take whatever other actions with respect to the plans, programs
and policies described in this Section 5.6(c)(i) as may be necessary to carry out the arrangements
described in this Section 5.6(c)(i).

                      (ii)      Seller and Buyer shall provide each other with such plan
documents and summary plan descriptions, employee data or other information as may be
reasonably required to carry out the arrangements described in this Section 5.6(c)(ii).

                    (iii)    Buyer and Seller intend to use the “standard procedure” under IRS
Revenue Procedure 2004 53, whereby each of Buyer and Seller report on Forms W-2 only those
wages paid to the Transferring Employees for the portion of the calendar year that such
Transferring Employees were employed by Buyer and Seller, respectively.

                       (iv)    After the Closing Date, Seller shall be responsible for providing
continuation coverage under Section 4980B of the Code and Title I, Part 6 of ERISA to all former
employees of Seller or any ERISA Affiliate of Seller who terminated employment on or before
the Closing Date or in connection with the transactions contemplated by this Agreement who are
considered “M&A qualified beneficiaries” as defined under Treas. Reg Section 54.4980B-9. If
neither Seller nor any ERISA Affiliate of Seller maintains a group health plan, Buyer shall assume
such responsibility as a successor employer, and notwithstanding any other provisions in this
Agreement, Seller shall reimburse Buyer for all direct and indirect expenses in connection with
providing such COBRA benefits.

                  (d)    No Third-Party Beneficiary Rights. Nothing contained in this Agreement
shall (i) impose an obligation on Buyer to continue the employment or service of any Transferring
Employee or any contractor or consultant of Seller, (ii) limit the right of Buyer to terminate the
employment or services of, or to reassign or otherwise alter the status of, any Transferring
Employee or any contractor or consultant of Seller after the Closing Date, or to change in any
manner the terms and conditions of his or her employment or other service to or engagement by
Seller, or (iii) be construed as amending any Benefit Plan or any Buyer Plan.

                (e)     WARN Act. Seller shall be responsible for all WARN Act Liabilities
relating to the periods prior to and on the Closing Date, including any such Liabilities that result
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from Employees’ separation of employment from Seller and/or Employees not becoming
Transferred Employees. Buyer shall be responsible for all WARN Act Liabilities exclusively with
respect to the Transferred Employees that relate to the period following the Closing Date.

        Section 5.7.        Parties’ Obligations.

               (a)      Each of Seller and Buyer will cause their respective Representatives to
timely perform any of their respective obligations under this Agreement and the Transaction
Documents. Without limiting the foregoing, each of the Parties will use its reasonable best efforts
to take all actions and to do all things necessary, proper or advisable to consummate the
transactions contemplated by this Agreement as promptly as practicable. Seller will use its
reasonable best efforts to obtain all such waivers, consents or approvals from third parties, and to
give all such notices to third parties, as are set forth on Section 5.7 of the Disclosure Schedule.

               (b)    Subject to the terms and conditions of this Agreement, each Party will use
its commercially reasonable efforts to take, or cause to be taken, all actions and to do, or cause to
be done, all things necessary, proper or advisable under applicable Laws to consummate the
transactions contemplated by this Agreement. The Parties hereto will furnish to each other and to
each other’s legal counsel all such information as may be reasonably requested in order to
accomplish the foregoing actions.

                (c)     Subject to the terms and conditions of this Agreement, each Party will use
its commercially reasonable efforts to take, or cause to be taken, all actions, and to do, or cause to
be done, and to assist and cooperate with the other parties hereto in doing, all things necessary,
proper or advisable to consummate and make effective, the transactions contemplated by this
Agreement, including (i) the obtaining of all necessary actions or nonactions, waivers, consents
and approvals from Governmental Authorities and the making of all necessary registrations and
filings (including filings with Governmental Authorities, if any) and the taking of all reasonable
steps as may be necessary to obtain an approval or waiver from, or to avoid an Action or
proceeding by, any Governmental Authority, (ii) the obtaining of all necessary consents or waivers
from third parties, including Governmental Authorities, and (iii) the execution and delivery of any
additional instruments necessary to consummate the transactions contemplated by this Agreement
and to fully carry out the purposes of this Agreement. The Parties agree that they will consult and
cooperate with each other in good faith with respect to the obtaining of all permits, consents,
approvals and authorizations of all third parties and Governmental Authorities necessary or
advisable to consummate the transactions contemplated by this Agreement and each party will
keep the others apprised of the status of matters relating to consummation of the transactions
contemplated by this Agreement. Subject to applicable Laws and this Agreement, Seller, on the
one hand, and Buyer, on the other hand, and their respective legal counsel will (x) have the right
to review in advance, and, to the extent practicable, each will consult the other on, any filing made
with, or written materials to be submitted to, any Governmental Authority in connection with the
transactions contemplated by this Agreement, (y) promptly inform each other of any
communication (or other correspondence or memoranda) received from, or given to, the U.S.
Department of Justice, the U.S. Federal Trade Commission, or any other Governmental Authority
with regulatory jurisdiction over enforcement of any applicable anti-trust, competition, or trade
regulation Law (each such Governmental Authority, a “Governmental Antitrust Entity”), and
(z) furnish each other with copies of all correspondence, filings and written communications

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between them or their Subsidiaries or Affiliates, on the one hand, and any Governmental Authority
or its respective staff, on the other hand, with respect to this Agreement or the transactions
contemplated by this Agreement. Seller, on the one hand, and Buyer, on the other hand, will
provide each other and their respective legal counsel with advance notice of, and the opportunity
to participate in, any discussion, telephone call or meeting with any Governmental Authority in
respect of any filing, investigation or other inquiry in connection with the transactions
contemplated by this Agreement and to participate in the preparation for such discussion,
telephone call or meeting. Buyer shall be entitled to direct the antitrust defense of this Agreement,
or negotiations with, any Governmental Authority or other third party relating to this Agreement
or regulatory filings under applicable competition Law, subject to the provisions of this Section
5.7. Seller shall use its commercially reasonable efforts to provide full and effective support of
Buyer in all material respects in all such negotiations and other discussions or actions to the extent
requested by Buyer.

                (d)     Without limiting the generality of the undertakings pursuant to this Section
5.7, but subject to Section 5.7(e), (i) the Parties shall provide or cause to be provided (including
by their “ultimate parent entities” as that term is defined in the HSR Act) as promptly as practicable
to Governmental Antitrust Entities information and documents requested by any Governmental
Antitrust Entity or necessary, proper or advisable to permit consummation of the transactions
contemplated by this Agreement, including preparing and filing any notification and report form
and related materials required under the HSR Act as promptly as practicable following the date of
this Agreement, with respect to the required filing under the HSR Act, and thereafter to respond
promptly to any request for additional information, data or documentary material that may be made
under the HSR Act, (ii) the Parties shall use their commercially reasonable efforts to take such
actions as are necessary or advisable to obtain from any Governmental Authority any consents,
licenses, permits, waivers, approvals, authorizations, or orders to effect prompt consummation of
the transactions contemplated by this Agreement, and (iii) the Parties will use their commercially
reasonable efforts to resolve any objections and challenges, including by contest through litigation
on the merits, negotiation or other Action, that may be asserted by any Governmental Antitrust
Entity with respect to the transactions under the HSR Act. Fees associated with the filing under
the HSR Act will be borne by Buyer.

              (e)    In furtherance and not in limitation of this Section 5.7, Seller and Buyer will
make any other filings required in connection with any approval or consent of or waiver by a
Governmental Authority required to permit consummation of the transactions contemplated by
this Agreement as promptly as practicable and in any event within five Business Days of the date
hereof.

                (f)    Notwithstanding anything in this Agreement to the contrary, it is expressly
understood and agreed that: (i) neither Buyer nor any of its Affiliates shall have any obligation to
litigate or contest any administrative or judicial action or proceeding or any decree, judgment,
injunction or other order, whether temporary, preliminary or permanent; and (ii) neither Buyer nor
any of its Affiliates shall be under any obligation to make proposals, execute or carry out
agreements, enter into consent decrees or submit to orders providing for (A) the sale, divestiture,
license or other disposition or holding separate (through the establishment of a trust or otherwise)
of any assets or categories of assets of Buyer or any of its Affiliates or Seller or any of its Affiliates,
(B) the imposition of any limitation or regulation on the ability of Buyer or any of its Affiliates to

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freely conduct their business or own such assets, or (C) the holding separate of the Purchased
Assets or any of Business’s product lines, assets or operations or the Business or any limitation or
regulation on the ability of Buyer or any of its Affiliates to exercise full rights of ownership of the
Business or the Purchased Assets.

                (g)    Seller, on the one hand, and Buyer, on the other hand, will promptly advise
each other upon receiving any communication from any Governmental Authority whose consent
or approval is required for consummation of the transactions contemplated by this Agreement that
causes such party to believe that there is a reasonable likelihood that any such consent or approval
will not be obtained or that the receipt of any such approval will be materially delayed.

                (h)     Except as may be otherwise provided in the Transaction Documents or
otherwise agreed to by the Parties in writing, all Tangible Properties that are Excluded Assets (if
any) that are located at any of the Real Property shall be removed from such facilities prior to the
Closing (or as promptly as reasonably practicable thereafter), at Seller’s expense and in a manner
so as not to unreasonably interfere with the operations of Buyer or any of its Affiliates (to the
extent any such removal is following the Closing) and to not cause damage to such Real Property
or any Purchased Asset (other than wear and tear that is reasonably expected in connection with
the applicable removal, but in any event, not material to any Purchased Asset or the Real Property
from which it is being removed), and Buyer or any of its Affiliates, as applicable, (to the extent
any such removal is following the Closing) shall provide reasonable access to Seller as applicable
to such Real Property to effectuate such movement. Seller shall be solely responsible for all costs
and expenses of removing such Excluded Assets and any subsequent moving and installation
thereof.

        Section 5.8. Bulk Sale Filings. To the extent necessary, Buyer hereby waives
compliance for Seller and its Affiliates with the provisions of any bulk sales transfer Laws
applicable to the transfers described in this Agreement. Seller will indemnify and hold harmless
Buyer from and against any and all Liabilities that may be asserted by third parties against Buyer
as a result of such Seller noncompliance.

        Section 5.9.        Escrow.

                (a)   On the Closing Date, Seller, Buyer and East West Bank, a national banking
association, as escrow agent (including its successors and permitted assigns in such capacity, the
“Escrow Agent”) will enter into an escrow agreement, substantially in the form of Exhibit H (the
“Escrow Agreement”). Buyer will pay all fees and expenses of the Escrow Agent in connection
with the Escrow Agreement. Seller and Buyer agree that, for Tax reporting purposes, all interest
or other income from investment of such escrowed funds will, as of the end of each calendar year
and to the extent required by the IRS, be reported as having been earned by Seller, and, in
accordance with the terms of the Escrow Agreement, the Escrow Agent will release to Seller from
the accounts established by the Escrow Agent pursuant to the Escrow Agreement (the “Escrow
Accounts”) funds sufficient to pay such Tax Liability.

              (b)     In accordance with the terms of the Escrow Agreement, to the extent that
no unresolved claim for indemnification pursuant to Article VII hereof is outstanding on the one-
year anniversary of the Closing Date, the Seller and Buyer shall submit joint written instructions

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to the Escrow Agent instructing the Escrow Agent to release and pay to Seller fifty percent (50%)
of the portion of the Escrow Amount remaining after the one-year anniversary of the Closing Date
(the “First Escrow Release Amount”); provided, that in the event that any claim for
indemnification has been asserted, but has not been fully and finally resolved on the one-year
anniversary of the Closing Date, the Seller and Buyer shall submit joint written instructions to the
Escrow Agent instructing the Escrow Agent to release and pay to Seller the First Escrow Release
Amount, less an amount equal to the maximum aggregate amount of all such unresolved claims,
and thereafter, any portion of the First Escrow Release Amount not required to pay such claims as
soon as practicable following the full and final resolution of such claims; and

                (c)     In accordance with the terms of the Escrow Agreement, to the extent that
no unresolved claim for indemnification pursuant to Article VII hereof is outstanding on the date
that is eighteen (18) months after the Closing Date, the Seller and Buyer shall submit joint written
instructions to the Escrow Agent instructing the Escrow Agent to release and pay to Seller the
portion of the Escrow Amount remaining after the date that is eighteen (18) months after the
Closing Date; provided, that in the event that any claim for indemnification has been asserted, but
has not been fully and finally resolved on the date that is eighteen (18) months after the Closing
Date, the Seller and Buyer shall submit joint written instructions to the Escrow Agent instructing
the Escrow Agent to release and pay to Seller the Escrow Amount remaining on such date, less an
amount equal to the maximum aggregate amount of all such unresolved claims, and thereafter, any
portion of the Escrow Amount not required to pay such claims as soon as practicable following
the full and final resolution of such claims.

        Section 5.10. Further Assurances; Post-Closing Cooperation.

                (a)       From time to time after the Closing, without additional consideration, each
of the Parties will (or, if appropriate, will cause their Affiliates to) execute and deliver such further
instruments and take such other action as may be necessary to make effective the transactions
contemplated by this Agreement and the Transaction Documents. If any Party will following the
Closing have in its possession any asset, right or Liability that under this Agreement that should
have been delivered to another Party, then such Party will promptly deliver such asset, right or
Liability to the other Party.

                 (b)     Seller hereby constitutes and appoints, effective as of the Closing Date,
Buyer and its successors and assigns as the true and lawful attorney of Seller with full power of
substitution in the name of Buyer, or in the name of Seller, but for the benefit of Buyer, at Buyer’s
cost (i) to collect for the account of Buyer any items of Purchased Assets and (ii) to institute and
prosecute all proceedings that Buyer may in its reasonable discretion deem proper to assert or
enforce any right, title or interest in, to or under the Purchased Assets, and to defend or compromise
any and all Actions in respect of the Purchased Assets. Buyer will be entitled to retain for its own
account any amounts collected pursuant to the foregoing powers, including any amounts payable
as interest in respect thereof.

                (c)    Following the Closing, Seller will afford Buyer and its Representatives
(i) such access during normal business hours as Buyer may reasonably request to all books, records
and other data and information, including any information from Employees, relating to the
Business, the Purchased Assets, the Excluded Assets, the Assumed Liabilities and the Excluded

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Liabilities and (ii) the right to make copies and extracts therefrom. Further, each Party agrees for
a period extending seven years after the Closing Date not to destroy or otherwise dispose of any
such books, records and other data unless such Party will first offer in writing to surrender such
books, records and other data to the other Party and such other Party will not agree in writing to
take possession thereof during the ten calendar day period after such offer is made and to inform
the senders that Buyer is the new rightful recipient.

                (d)    Following the Closing, Buyer may receive and open all mail addressed to
Seller and deal with the contents thereof in its discretion to the extent that such mail and the
contents thereof relate to the Business. Buyer agrees to deliver or cause to be delivered to Seller
all mail received by Buyer after the Closing addressed to Seller or any of its Affiliates that does
not relate to the Business.

                (e)      Seller will take, or cause to be taken, all actions and do, or cause to be done,
at no cost to Seller, all things necessary, proper, or advisable to register, maintain, and prevent the
diminution in value of the Business Intellectual Property, including filing any affidavits of use in
commerce with the U.S. Patent and Trademark Office, responding to all office actions or other
correspondence from the U.S. Patent and Trademark Office, U.S. Copyright Office, and all other
corresponding governmental offices throughout the world, obtaining and recording all documents
necessary to establish, maintain, transfer, or identify Buyer’s rights in such Intellectual Property,
including all necessary assignments of such Intellectual Property and fulfilling all of its duties and
obligations and avoid any defaults under all Contracts regarding Intellectual Property, and assist
Buyer after the Closing with respect to any legal or administrative action relating to the Intellectual
Property, including before the U.S. Patent and Trademark Office, U.S. Copyright Office, and all
other corresponding foreign and domestic Governmental Authorities.

                (f)     To the extent that any moral rights or rights of droit moral are deemed to
exist or apply in any jurisdiction to any of the Intellectual Property rights transferred hereunder,
Seller agrees to, and hereby waives, or hereby agrees to seek a waiver in favor of Seller and Buyer
of any and all such moral rights or rights of droit moral.

                (g)     Seller will effect all renewals of all Intellectual Property that are scheduled
to or may expire between the date hereof and the date that is thirty (30) days after the Closing Date.
Subject to the immediately following sentence, Buyer will be responsible for all out-of-pocket
third-party fees and expenses incurred by Seller in connection with all such renewals, and Buyer
will reasonably assist Seller in connection therewith, including executing and delivering, or
causing to be executed and delivered, all such documents and instruments as Seller may reasonably
deem necessary to affect such renewals. Seller will be fully responsible for, including paying all
costs associated with, filing releases of all security Encumbrances existing on the Closing Date on
Business Intellectual Property with the United States Patent and Trademark Office and any
applicable foreign Intellectual Property offices where Encumbrances have been recorded on or
prior to the Closing Date.

        Section 5.11. Access to Information. From the date hereof to the Closing Date, Seller will
(a) afford Buyer and its Representatives reasonable access to the Employees and reasonable access
to and the right to inspect all of the Real Property, properties, assets, premises, books and records,
contracts, agreements and other data related to the Business and (b) furnish Buyer and its

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Representatives with such financial, operating and other data and information related to the
Business as Buyer may reasonably request, except that any such investigation will be conducted
during normal business hours, upon reasonable advance notice to Seller, under the supervision of
Seller’s personnel and in such manner as not to unreasonably interfere with the normal operations
of the Business. Buyer will, and will cause its Representatives to, abide by the terms of the
Confidentiality Agreement with respect to any access or information provided pursuant to this
Section 5.11.

         Section 5.12. Publicity. The initial press release announcing this Agreement will be in
substantially the form previously agreed by the Parties. Thereafter and prior to the Closing, no
Party will issue any press release concerning this Agreement or the transactions contemplated
hereby without obtaining the prior written approval of the other, which approval will not be
unreasonably withheld, delayed or conditioned, unless and to the extent that the disclosing Party
otherwise determines in good faith that such disclosure is required by Law (in which case it will,
if practicable under the circumstances, endeavor in good faith to consult with the other Parties with
respect to the filing and content thereof). Other than in connection with the filings required
pursuant to the HSR Act, the terms of this Agreement will not be disclosed or otherwise made
available to any third party, except where such disclosure, availability or filing is required by Law
and only to the extent required by Law.

        Section 5.13. Exclusivity. Until the Closing or the termination of this Agreement, Seller
will not, and will not permit its Affiliates or Representatives to, nor will they encourage or
authorize any Person (including any Representative) to, initiate any contact with, solicit, encourage
or enter into or continue any negotiations, understandings or agreements with any third party with
respect to or in connection with, or furnish or disclose any non-public information regarding the
Business to any third party in connection with, any share purchase, merger, consolidation, share
exchange, recapitalization or other business combination transaction involving the Business, in
each case other than the transactions contemplated by this Agreement.

        Section 5.14. Receivables. From and after the Closing, if Seller or any of its Affiliates
receives or collects any funds relating to any Receivables, other than Excluded Receivables, or
any other Purchased Asset, Seller or its Affiliate shall remit such funds to Buyer within five (5)
Business Days after its receipt thereof. From and after the Closing, if Buyer or its Affiliate receives
or collects any funds relating to any Excluded Asset, Buyer or its Affiliate shall remit any such
funds to Seller within five (5) Business Days after its receipt thereof.

        Section 5.15. Notification of Certain Matters. Seller will give prompt written notice to
Buyer, and Buyer will give prompt written notice to Seller, (a) of any notice or other
communication received by such Party or any of its Affiliates from any Governmental Authority
in connection with the transactions contemplated by this Agreement or from any Person alleging
that the consent of such Person is or may be required in connection with the transactions
contemplated by this Agreement, (b) of any Action commenced or, to such Party’s knowledge,
threatened against, relating to or involving or otherwise affecting such Party or any of its Affiliates
which relate to the transactions contemplated by this Agreement, (c) in the event such Party
becomes aware of the occurrence or non-occurrence of any event which will result, or has a
reasonable prospect of resulting, in the failure of any condition, covenant or agreement contained
in this Agreement to be complied with or satisfied prior to or at the Closing.

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                                           ARTICLE VI

                                  CONDITIONS TO CLOSING

        Section 6.1. Conditions to Each Party’s Obligations. The respective obligations of each
Party to effect the Closing are subject to the satisfaction or waiver at or prior to the Closing of the
following conditions:

                (a)   All necessary consents and approvals of any Governmental Authority
required for the consummation of the transactions contemplated by this Agreement shall have been
obtained, and any waiting period applicable to the consummation of the transactions contemplated
hereby under the HSR Act shall have expired or been terminated.

                (b)    No Law shall have been enacted, entered, promulgated or enforced by a
Governmental Authority that prohibits the consummation of the transactions contemplated by this
Agreement or the Transaction Documents, and no Action shall be pending by a Governmental
Authority having jurisdiction over the Business that seeks to prohibit or enjoin the consummation
of the transactions contemplated by this Agreement or the Transaction Documents.

       Section 6.2. Conditions to Buyer’s Obligations. The obligations of Buyer to effect the
Closing are further subject to the satisfaction or waiver at or prior to the Closing of the following
conditions:

                (a)     Each of the representations and warranties made by Seller in this Agreement
that is qualified by reference to materiality, Business Material Adverse Effect or Seller Material
Adverse Effect shall be true and correct in all respects, and each of the representations and
warranties made by Seller in this Agreement that are not so qualified shall be true and correct in
all material respects, in each case as of the date of this Agreement and at and as of the Closing
Date as if made on that date (except in any case that representations and warranties that expressly
speak as of a specified date or time need only be true and correct as of such specified date or time).

               (b)    Seller shall have performed and complied in all material respects with each
covenant required by this Agreement to be so performed or complied with by Seller at or before
the Closing (including delivering to Buyer the items set forth in Section 2.7).

               (c)    All payoff letters, consents or approvals listed in Section 6.2(c) of the
Disclosure Schedule shall have been obtained and Buyer shall have received copies of such
consents in form and substance reasonably satisfactory to Buyer.

               (d)    No event, circumstance or change shall have occurred, that individually or
in the aggregate with one or more other events, circumstances or changes, has had or reasonably
could be expected to have, a Seller Material Adverse Effect or a Business Material Adverse Effect.

                (e)    Seller shall have amended its charter, bylaws and any other governing
documents, as applicable, and taken all other actions necessary to change its name to one
sufficiently dissimilar to its present name, in Buyer’s reasonable judgment, to avoid confusion
with the conduct of the Business post-Closing.


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              (f)     At least eighty percent (80%) of the employees set forth on Section 5.6(a)
of the Disclosure Schedule shall have accepted Buyer’s offer of employment, on mutually
agreebale terms, and have completed Buyer’s standard pre-employment processes for hiring and
onboarding.

                (g)    Seller shall have delivered to Buyer a certificate, dated the Closing Date and
duly executed by the Chief Executive Officer of Seller, in form and substance reasonably
satisfactory to Buyer, to the effect that the conditions set forth in clauses (a), (b) and (d) of this
Section 6.2 have been satisfied.

                (h)     Seller shall have delivered to Buyer a certificate of the corporate secretary
of Seller attaching thereto a true, correct and complete copy of resolutions of the board of directors
and stockholders of Seller authorizing the execution, delivery and performance of this Agreement,
the Transaction Documents and the consummation of the transactions contemplated hereby and
thereby.

               (i)    Seller shall have delivered to Buyer a certificate of good standing or similar
document with respect to Seller issued by the applicable Governmental Authority as of a date
within three Business Days of the Closing Date.

                (j)    Seller and the Escrow Agent (or, if the Escrow Agent is unable or unwilling
to serve in such capacity, an alternative escrow agent reasonably satisfactory to Buyer) shall have
entered into and delivered the Escrow Agreement.

                 (k)        Pattison shall have executed and delivered to Buyer the Pattison Consulting
Agreement.

       Section 6.3. Conditions to Seller’s Obligations. The obligations of Seller to effect the
Closing are further subject to the satisfaction or waiver at or prior to the Closing of the following
conditions:

               (a)       Each of the representations and warranties made by Buyer in this
Agreement that is qualified by reference to materiality or Buyer Material Adverse Effect shall be
true and correct in all respects, and each of the other representations and warranties made by Buyer
in this Agreement that are not so qualified shall be true and correct in all material respects, in each
case as of the date of this Agreement and at and as of the Closing Date as if made on that date
(except in any case that representations and warranties that expressly speak as of a specified date
or time need only be true and correct as of such specified date or time).

                (b)   Buyer shall have performed and complied with, in all material respects, each
covenant required by this Agreement to be so performed or complied with by Buyer at or before
the Closing (including delivering to Seller or the Escrow Agent, as applicable, the items set forth
in Section 2.8).

               (c)    No event, circumstance or change shall have occurred, that individually or
in the aggregate with one or more other events, circumstances or changes, has had or reasonably
could be expected to have, a Buyer Material Adverse Effect.


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                 (d)     Buyer shall have delivered to Seller a certificate, dated the Closing Date and
duly executed by an authorized officer of Buyer, in form and substance reasonably satisfactory to
Seller, to the effect that the conditions set forth in clauses (a)-(c) above have been satisfied.

              (e)     Buyer shall have delivered to Seller a certificate of an authorized officer of
Buyer attaching thereto a true, correct and complete copy of resolutions of the board of directors
of Buyer authorizing the execution, delivery and performance of this Agreement, the Transaction
Documents and the consummation of the transactions contemplated hereby and thereby.

               (f)     Buyer and the Escrow Agent (or, if the Escrow Agent is unable or unwilling
to serve in such capacity, an alternative escrow agent reasonably satisfactory to Seller) shall have
entered into and delivered the Escrow Agreement.

                                               ARTICLE VII

                                             TERMINATION

       Section 7.1.         Termination. This Agreement may be terminated at any time prior to the
Closing by:

                 (a)        the mutual written consent of Buyer and Seller;

                 (b)    Buyer, upon a material breach of any representation, warranty, covenant or
agreement set forth in this Agreement (a “Terminating Breach”) by Seller such that the
conditions specified in Section 6.2(a) or 6.2(b) would not be satisfied at the Closing and, in either
such case, such breach cannot be cured by the Termination Date or, if capable of being cured, is
not cured within 15 days following receipt by Seller from Buyer of written notice thereof, except
that the right to terminate this Agreement pursuant to this Section 7.1(b) will not be available to
Buyer if it is then in material breach of any of its representations, warranties or covenants under
this Agreement; or

                (c)     Seller, upon a Terminating Breach by Buyer such that the conditions
specified in Section 6.3(a) or 6.3(b) would not be satisfied at the Closing and, in either such case,
such breach cannot be cured by the Termination Date or, if capable of being cured, is not cured
within 15 days following receipt by Buyer from Seller of written notice thereof, except that the
right to terminate this Agreement pursuant to this Section 7.1(c) will not be available to Seller if it
is then in material breach of any of its representations, warranties or covenants under this
Agreement; or

                 (d)        Buyer or Seller, as the case may be, if:

                      (i)      there shall be any Law that makes consummation of the
transactions contemplated by this Agreement illegal or otherwise prohibited; or

                       (ii)     any Governmental Authority shall have issued an Order
restraining or enjoining the transactions contemplated by this Agreement, and such Order shall
have become final and non-appealable; or


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                         (iii)      the Closing shall not have occurred by December 31, 2021 (the
“Termination Date”) (unless the failure to consummate the Closing by such date shall be due to
or have resulted from any breach of the representations or warranties made by, or the failure to
perform or comply with any of the agreements or covenants hereof to be performed or complied
with prior to the Closing by, the Party seeking to terminate the Agreement pursuant to this Section
7.1(d)(iii)); provided, however, that if on such date at least one of the conditions set forth in Section
6.1(a) (as a result of an antitrust Law or an Order under an antitrust Law) shall not have been
satisfied, then, Buyer, at its sole discretion, may elect to extend the Termination Date for one three-
month period.

                (e)     Seller if (i) all the conditions set forth in Sections 6.1 and 6.2 (provided such
conditions are capable of being satisfied as of the date of Seller’s notice terminating the Agreement
pursuant to this Section 7.1(e)) have been satisfied, (ii) Seller has irrevocably confirmed by written
notice to Buyer that it is ready and willing to consummate the transactions contemplated by this
Agreement (subject to the satisfaction of all of the conditions set forth in Section 6.3 that by their
nature to be satisfied by actions taken at the Closing) on a proposed Closing Date that is consistent
with Section 2.6 and such notice is given not less than five (5) Business Days prior to such
proposed Closing Date, and (iii) the Closing shall not have been consummated on such proposed
Closing Date.

        Section 7.2. Effect of Termination. In the event this Agreement is terminated by either
Party as provided in Section 7.1, the provisions of this Agreement will immediately become void
and of no further force and effect, and no Party or any of its Subsidiaries or Affiliates (or any of
their respective directors or officers) will have any Liability whatsoever under this Agreement or
in connection with the transactions contemplated hereby (other than this Section 7.2, Section 5.12
and Article IX which will survive the termination of this Agreement), except that (a) such
termination will not relieve any Party hereto of any Liability for damages actually incurred or
suffered by the other Party as a result of any willful breach of this Agreement and (b) the provisions
of the Confidentiality Agreement will continue in full force and effect. For purposes hereof,
“willful breach” means a material breach by a Party of the applicable provision of this Agreement
as a result of an action or failure to act by such Party that it knew would result in a breach of this
Agreement. Upon the termination of this Agreement, Buyer shall destroy, and delete from its
computer systems, mobile storage devices or cloud devices, all of Seller’s information.

                                           ARTICLE VIII

                               SURVIVAL; INDEMNIFICATION

        Section 8.1. Survival of Representations, Warranties, Covenants and Agreements. The
representations and warranties of the Parties provided for in this Agreement will survive the
Closing for a period of 18 months, except that (a) the representations and warranties set forth in
Section 3.19 (Intellectual Property) will survive the Closing for a period of 24 months, (b) the
representations and warranties set forth in Sections 3.6 (Tax Matters), 3.7 (ERISA and Employee
Benefits) and 3.21 (Environmental Matters) will survive the Closing until 60 days following the
expiration of the applicable statute of limitations (as may be extended by any Governmental
Authority), and (c) the representations and warranties set forth in (i) Sections 3.1 (Organization
and Qualification; Capitalization), 3.2 (Authority; Non-Contravention; Approvals); 3.30 (Brokers)

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and 3.31 (Affiliate Transactions) (collectively, the “Seller Fundamental Representations”), and
(ii) Sections 4.1 (Organization and Qualification), 4.2 (Authority; Non-Contravention;
Approvals), and 4.3 (Brokers) (collectively the “Buyer Fundamental Representations” and,
together with the Seller Fundamental Representations, the “Fundamental Representations”) will
survive the Closing to the fullest extent permissible under applicable Law. Each covenant
contained in this Agreement will survive until fully performed or fulfilled, unless non-compliance
with such covenants is waived in writing by the Party or Parties entitled to such performance. No
Claim for indemnification may be asserted after the expiration of the applicable survival period;
provided, that a specific Claim for indemnification which was timely and properly made before
expiration of the applicable survival period but not resolved prior to its expiration will extend the
survival period with respect to the specific representation, warranty, covenant or agreement
underlying such Claim through the date such Claim is conclusively resolved. The Parties’
respective representations, warranties, covenants and agreements contained in this Agreement will
survive strictly in accordance with this Section 8.1.

        Section 8.2. Indemnification by Buyer. Subject to the provisions of this Article VIII,
Buyer agrees to indemnify, defend and hold harmless Seller and Seller’s officers, directors,
managers, members, employees, agents, Affiliates and Subsidiaries, including officers and
directors of any Affiliate or Subsidiary of Seller (collectively, the “Seller Parties”), after the
Closing, from and against any and all Losses incurred by Seller Parties to the extent such Losses
are based upon, arise out of or are related to (a) a breach of any representation or warranty of Buyer
set forth in this Agreement or any of the Transaction Documents, (b) any failure to perform or
comply with any of the covenants of Buyer set forth in this Agreement or any of the Transaction
Documents, (c) the Assumed Liabilities, or (d) any and all Taxes for which Buyer is responsible
pursuant to this Agreement.

        Section 8.3. Indemnification by Seller. Subject to the provisions of this Article VIII,
Seller, Burkhart and Van Ortwick will severally indemnify, defend and hold harmless Buyer and
Buyer’s officers, directors, managers, members, employees, agents, Affiliates and Subsidiaries,
including officers and directors of any Affiliate or Subsidiary of Buyer (collectively, the “Buyer
Parties” and together with the Seller Parties, the “Indemnitees”), after the Closing, from and
against any and all Losses incurred by Buyer Parties to the extent such Losses are based upon,
arise out of or relate to (a) a breach of any representation or warranty of Seller set forth in this
Agreement or in any of the Transaction Documents, (b) any failure to perform or comply with any
of the covenants of Seller set forth in this Agreement or in any of the Transaction Documents, (c)
Excluded Liabilities, (d) any and all Taxes for which Seller is responsible pursuant to this
Agreement or for which Seller is otherwise responsible under any applicable Law, or (e) any
matters set forth on Schedule 8.3.

        Section 8.4. Assertion of Claims. The Indemnitee will promptly give notice to the Party
from whom the indemnification is sought (the “Indemnitor”) of any claim (a “Claim”) describing
such Claim with reasonable particularity and containing a reference to the provisions of this
Agreement under which such Claim has arisen, except that the failure to give such prompt notice
will not prevent any Indemnitee from being indemnified hereunder for any Losses, except to the
extent that the Indemnitor is prejudiced as a result of such failure to so promptly notify the
Indemnitee.


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        Section 8.5.        Notice of and Right to Defend Third Party Claims.

                (a)      If any lawsuit or enforcement Action is filed against any Party entitled to
the benefit of indemnity hereunder which may give rise to a Claim (a “Third-Party Claim”),
written notice thereof will be given by the Indemnitee to the Indemnitor as promptly as practicable.
If the Indemnitor confirms in writing to the Indemnitee within 30 days after receipt of a Third-
Party Claim the Indemnitor’s responsibility to indemnify and hold harmless the Indemnitee
therefor (subject to the limitations set forth in this Article VIII), the Indemnitor may elect to assume
control over the compromise or defense of such Third-Party Claim at the expense of the Indemnitor
and by counsel selected by the Indemnitor, which counsel will be reasonably satisfactory to the
Indemnitee; provided, however, that (i) the Indemnitee may, if such Indemnitee so desires, employ
counsel at such Indemnitee’s own expense to assist in the handling (but not control the defense)
of any Third-Party Claim, (ii) the Indemnitor will keep the Indemnitee advised of all material
events with respect to any Third-Party Claim, (iii) the Indemnitor will obtain the prior written
approval of the Indemnitor before ceasing to defend against any Third-Party Claim or entering into
any settlement, adjustment or compromise of such Third-Party Claim involving injunctive or
similar equitable relief being asserted against any Indemnitee or any of its Affiliates, and (iv) no
Indemnitor will, without the prior written consent of the Indemnitee, settle or compromise or
consent to the entry of any judgment in any pending or threatened Claim in respect of which
indemnification may be sought hereunder (whether or not any such Indemnitee is a party to such
action). The other Party will cooperate with the Party assuming the defense, compromise or
settlement of any such Claim in accordance with this Agreement in any manner that such Party
that assumes the defense reasonably may request. After notice from the Indemnitor to the
Indemnitee of its election so to assume the defense, conduct or settlement thereof, the Indemnitor
will not be liable to the Indemnitee for any costs or legal or other expenses subsequently incurred
by the Indemnitee in connection with the defense, conduct or settlement thereof following such
notice (including the cost of any settlement entered into by Indemnitee without Indemnitor’s
express written consent). In connection with any defense of any Third-Party Claim (whether by
the Indemnitors or the Indemnitees), all of the Parties will, and will cause their respective Affiliates
and Representatives to, reasonably cooperate with each other in connection with such Third-Party
Claim to make available to each other all Persons and all pertinent information under their
respective control.

                (b)     Notwithstanding anything contained herein to the contrary, the Indemnitor
will not be entitled to have sole control over (and if it so desires, the Indemnitee will have sole
control over) the defense, settlement, adjustment or compromise of (but the Indemnitor will
nevertheless be required to pay all Losses incurred by the Indemnitee in connection with such
defense, settlement or compromise to the extent the Indemnitor has assumed the defense or the
Indemnitee is otherwise entitled to indemnification hereunder) (i) any Third Party Claim that seeks
an order, injunction or other equitable relief against any Indemnitee or any of its Affiliates, (ii) any
Third-Party Claim in which both the Indemnitor and the Indemnitee are named as parties and either
the Indemnitor or the Indemnitee determines upon the advice of counsel that there may be one or
more legal defenses available to it that are different from or additional to those available to the
other party, and (iii) any Third-Party Claim relating to Taxes relating to the Business for periods
after the Closing Date.



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               (c)     If the Indemnitor elects not to assume the defense, settlement, adjustment
or compromise of an asserted Liability, fails to timely and properly notify the Indemnitee of its
election as herein provided, or, at any time after assuming such defense, fails to diligently defend
against such Third-Party Claim in good faith, fails to have sufficient financial resources to pay the
full amount of such potential Liability in connection with such Third-Party Claim or if the
Indemnitee is otherwise entitled pursuant to this Agreement to have control over the defense,
settlement or compromise of any Claim, the Indemnitee may, at the Indemnitor’s expense (but
only to the extent the Indemnitee is entitled to indemnification hereunder), pay, defend, settle,
adjust or compromise such asserted Liability (but the Indemnitor will nevertheless be required to
pay all Losses incurred by the Indemnitee in connection with such payment, defense, settlement,
adjustment or compromise).

        Section 8.6.        Indemnification Procedures.

                 (a)     If an Indemnified Party seeks indemnification under this Article VIII, such
Indemnified Party will deliver an Officer’s Certificate to the Indemnifying Party (and with respect
to indemnification pursuant to Section 8.3, the Escrow Agent, if the Escrow Agreement has not
expired in accordance with its terms). The Indemnifying Party may object to such claim by
delivering written notice to the Indemnified Party (and with respect to indemnification pursuant to
Section 8.3, the Escrow Agent, if the Escrow Agreement has not expired in accordance with its
terms) specifying the basis for such objection within 30 calendar days following receipt by the
Indemnifying Party of notice from the Indemnified Party regarding such claim. If no such
objection is made within such 30 calendar day period, the Indemnified Party may recover Losses
without further consent or approval required of any of the Indemnifying Parties. For the purposes
hereof, “Officer’s Certificate” will mean a certificate signed by any officer of the Indemnified
Party (i) stating that the Indemnified Party has paid, sustained, incurred or properly accrued, or in
good faith reasonably anticipates that it will pay, sustain, incur or accrue Losses, and (ii) specifying
in reasonable detail the individual items of Losses included in the amount so stated, the date each
such item was paid, sustained, incurred or properly accrued, or the basis for such anticipated
Liability.

               (b)    All Losses incurred by an Indemnified Party will be satisfied in accordance
with the procedures set forth herein.

        Section 8.7.        Limitations.

               (a)     No amounts of indemnity will be payable as a result of any Claim arising
under Section 8.3(a) relating to a breach or alleged breach of a representation or warranty unless
and until Buyer Parties have suffered, incurred, sustained or become subject to Losses referred to
in that clause in excess of $1,075,000 in the aggregate in respect of all Claims (the “Basket
Amount”), in which case Buyer Parties may bring a Claim for all such Losses in excess of the
Basket Amount, except that any Claims brought by any Buyer Parties related to any breach or
alleged breach of a Seller Fundamental Representation, a representation or warranty under Section
3.6 (Tax Matters), or arising out of or related to fraud or willful misconduct of Seller, Burkhart or
Van Ortwick, will not be subject to, or in any way limited by, the Basket Amount. Except for
indemnity based on any Seller Fundamental Representation a representation or warranty under
Section 3.6 (Tax Matters), or arising out of or related to fraud or willful misconduct of Seller, the

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maximum Liability of Seller, Burkhart and Van Ortwick under Section 8.3(a) will not exceed an
aggregate of ($25,800,000) (the “Maximum Indemnity Amount”).

                (b)     No amounts of indemnity will be payable as a result of any Claim arising
under Section 8.2 relating to a breach or alleged breach of a representation or warranty unless and
until the Seller Parties have suffered, incurred, sustained or become subject to Losses referred to
in that clause in excess of the Basket Amount, in which case the Seller Parties may bring a Claim
for all such Losses in excess of the Basket Amount, except that Claims brought by any Seller
Parties related to any breach or alleged breach of a Buyer Fundamental Representation or arising
out of or related to fraud or willful misconduct of Buyer will not be subject to, or in any way
limited by, the Basket Amount. Notwithstanding anything herein to the contrary, the maximum
aggregate Liability of Buyer under Section 8.2 will not exceed the Maximum Indemnity Amount.

                (c)     The amount of any Claim pursuant to this Article VIII will be reduced by
the amount of any insurance proceeds actually recovered (less the cost to collect the proceeds of
such insurance and the amount, if any, of any retroactive or other premium adjustments reasonably
attributable thereto) by the Indemnified Party in respect of such claim or the facts or events giving
rise to such indemnity obligation. If the Indemnified Party realizes such insurance proceeds after
the date on which an indemnity payment has been made to the Indemnified Party, the Indemnified
Party will promptly make payment to the Indemnifying Party in an amount equal to such insurance
proceeds; provided, that such payment will not exceed the amount of the indemnity payment.

              (d)    In no event will any of the Parties be liable under this Article VIII for
punitive damages, except to the extent payable in connection with a Third-Party Claim.

                (e)    The right to indemnification or other remedy based upon the
representations, warranties and covenants will not be affected by any investigation conducted with
respect to, or any knowledge acquired (or capable of being acquired) at any time, whether before
or after the execution of this Agreement or the Closing Date, with respect to the inaccuracy of or
compliance with any such representation, warranty or covenant.

        Section 8.8. Payment of Claims. If any Buyer Party is entitled to indemnification
pursuant to this Article VIII (subject to the limitations set forth in Section 8.7), then (a) Buyer and
Seller will instruct the Escrow Agent to pay to such Buyer Party the applicable indemnity amount,
up to and including the Maximum Indemnity Amount pursuant to the terms of, and subject to, the
Escrow Agreement and (b) Seller, Burkhart and Van Ortwick, severally, will pay to such Buyer
Party the applicable indemnity amount, to the extent in excess of the Maximum Indemnity Amount
and payable pursuant to the terms of this Agreement.

       Section 8.9. Character of Indemnity Payments.             The Parties agree that any
indemnification payments made with respect to this Agreement will be treated for all Tax purposes
as an adjustment to the Purchase Price, unless otherwise required by Law (including by a
determination of a Taxing Authority that, under applicable Law, is not subject to further review or
appeal).

        Section 8.10. Exclusive Remedy. From and after the Closing, except with respect to fraud
or willful misconduct, the remedies provided for in this Article VIII are exclusive and will be in

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lieu of all other remedies for any breach of any representation or warranty or the failure to perform
or comply with any covenant, agreement or other provision of this Agreement.

                                            ARTICLE IX

                                         MISCELLANEOUS

        Section 9.1. Notices. All notices, requests, waivers and other communications under
this Agreement must be in writing and will be deemed to have been duly given upon receipt to the
Parties at the following addresses or facsimiles (or at such other address or facsimile for a Party as
will be specified by the notice):

                 If to Seller:

                            c/o Burk Ortwick Holdings
                            3811 Wacker Dr.
                            Mira Loma, CA 91752
                            Attn: Brandon L. Burkhart
                            Email: leeswholesale@gmail.com

                 With a copy (which will not constitute notice) to:

                            Rimon PC
                            800 Oak Grove Ave., Suite 250
                            Menlo Park, CA 94025
                            Attention:   James C. Chapman
                            Email:       james.chapman@rimonlaw.com


                 If to Buyer:

                            Hawthorne Hydroponics LLC
                            c/o The Hawthorne Gardening Company
                            14111 Scottslawn Road
                            Marysville, Ohio 43041
                            Attention: Katy Wiles
                            Email: katy.wiles@scotts.com


                 With a copy (which will not constitute notice) to:

                            Paul Hastings LLP
                            200 Park Avenue
                            New York, New York 10166
                            Attention: Samuel Waxman
                            Email: samuelwaxman@paulhastings.com



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       Section 9.2. Entire Agreement. This Agreement, the exhibits and schedules hereto and
the Transaction Documents supersede all prior and contemporaneous discussions and agreements,
both written and oral, among the Parties with respect to the subject matter of this Agreement and
the Transaction Documents, and constitute the sole and entire agreement among the Parties to this
Agreement with respect to the subject matter of this Agreement.

        Section 9.3. Expenses. Except as otherwise expressly provided in this Agreement or any
Transaction Document, each Party will pay its own costs and expenses incurred in connection with
the negotiation, execution and closing of this Agreement and the Transaction Documents and the
transactions contemplated by this Agreement and the Transaction Documents. Buyer and Seller
will share equally any requisite filing fee in respect of any notification submitted pursuant to
antitrust Laws, other than as set forth in Section 5.7(d).

        Section 9.4. Waiver. Any term or condition of this Agreement may be waived at any
time by the Party that is entitled to the benefit thereof, but no such waiver will be effective unless
set forth in a written instrument duly executed by or on behalf of the Party waiving such term or
condition. No failure or delay by any party in exercising any right, power or privilege hereunder
will operate as a waiver thereof nor will any single or partial exercise thereof preclude any other
or further exercise thereof or the exercise of any other right, power or privilege. No waiver by any
Party of any term or condition of this Agreement, in any one or more instances, will be deemed to
be or construed as a waiver of the same or any other term or condition of this Agreement on any
future occasion. All remedies, either under this Agreement or by Law or otherwise afforded, will
be cumulative and not alternative.

       Section 9.5. Amendment. This Agreement may only be amended, supplemented or
modified by a written instrument duly executed by or on behalf of each Party to this Agreement.

        Section 9.6. No Third-Party Beneficiary. The terms and provisions of this Agreement
are intended solely for the benefit of each Party hereto and their respective successors or permitted
assigns, and it is not the intention of the Parties to confer third party beneficiary rights upon any
other Person other than any Person entitled to indemnity under Article VIII.

        Section 9.7. Assignment; Binding Effect. Neither this Agreement nor any right, interest
or obligation under this Agreement may be assigned or delegated by any Party by operation of
Law or otherwise without the prior written consent of the other Parties and any attempt to do so
will be void, except that Buyer may assign or delegate any or all of its rights, interests and
obligations under this Agreement (a) before or after the Closing, to any Affiliate, and (b) after the
Closing, to any Person; provided, that any such Affiliate or Person referred to in clause (a) or (b),
as applicable, agrees in writing to be bound by the terms, conditions and provisions contained in
this Agreement, but no such assignment will relieve Buyer of its obligations under this Agreement
if such assignee does not perform such obligations. Without limiting the generality of the
foregoing, if requested by Buyer, Seller agrees to cause the Business and the Purchased Assets or
any portion thereof at the Closing to be transferred to any Person that Buyer may direct. Subject
to the foregoing, this Agreement is binding upon, inures to the benefit of and is enforceable by the
Parties and their respective successors and assigns.



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        Section 9.8. Governing Law. This Agreement will be governed by and construed in
accordance with the laws of the State of Delaware, without regard for the conflict of laws principles
thereof.

        Section 9.9.        Consent to Jurisdiction; Service of Process; Waiver of Jury Trial.

               (a)      EACH PARTY HEREBY IRREVOCABLY SUBMITS AND CONSENTS
TO THE EXCLUSIVE JURISDICTION OF THE DELAWARE COURT OF CHANCERY (AND
IF JURISDICTION IN THE DELAWARE COURT OF CHANCERY SHALL BE
UNAVAILABLE, THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA
SITTING IN THE STATE OF DELAWARE) IN RESPECT OF ANY ACTION, SUIT OR
PROCEEDING ARISING IN CONNECTION WITH THIS AGREEMENT AND THE
TRANSACTION DOCUMENTS AND THE TRANSACTIONS CONTEMPLATED HEREBY
AND THEREBY, AND EACH PARTY AGREES THAT ANY SUCH ACTION, SUIT OR
PROCEEDING WILL BE BROUGHT ONLY IN SUCH COURT (AND WAIVES ANY
OBJECTION BASED ON FORUM NON CONVENIENS OR ANY OTHER OBJECTION TO
VENUE THEREIN); PROVIDED, HOWEVER, THAT SUCH CONSENT TO JURISDICTION
IS SOLELY FOR THE PURPOSE REFERRED TO IN THIS SECTION 9.9 AND WILL NOT
BE DEEMED TO BE A GENERAL SUBMISSION TO THE JURISDICTION OF SAID
COURTS OR IN THE STATE OF DELAWARE OTHER THAN FOR SUCH PURPOSE. Any
and all process may be served in any action, suit or proceeding arising in connection with this
Agreement or the Transaction Documents by complying with the provisions of Section 9.1. Such
service of process will have the same effect as if the Party being served were a resident in the State
of Delaware and had been lawfully served with such process in such jurisdiction. The Parties
hereby waive all claims of error by reason of such service. Nothing herein will affect the right of
any Party to service process in any other manner permitted by Law or to commence legal
proceedings or otherwise proceed against the other in any other jurisdiction to enforce judgments
or rulings of the aforementioned courts. EACH PARTY TO THIS AGREEMENT HEREBY
EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND,
ACTION OR CAUSE OF ACTION ARISING UNDER THIS AGREEMENT OR ANY
TRANSACTION DOCUMENT OR IN ANY WAY CONNECTED WITH OR RELATED OR
INCIDENTAL TO THE DEALINGS OF THE PARTIES OR ANY OF THEM WITH RESPECT
TO THIS AGREEMENT OR ANY TRANSACTION DOCUMENT, OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY, IN EACH CASE WHETHER NOW EXISTING
OR HEREAFTER ARISING, AND WHETHER FOUNDED IN CONTRACT OR TORT OR
OTHERWISE; AND EACH PARTY HEREBY AGREES AND CONSENTS THAT ANY SUCH
CLAIM, DEMAND, ACTION OR CAUSE OF ACTION WILL BE DECIDED BY COURT
TRIAL WITHOUT JURY, AND THAT ANY PARTY TO THIS AGREEMENT MAY FILE AN
ORIGINAL COUNTERPART OR A COPY OF THIS SECTION 9.9 WITH ANY COURT AS
WRITTEN EVIDENCE OF THE CONSENT OF THE SIGNATORIES HERETO TO THE
WAIVER OF THEIR RIGHT TO TRIAL BY JURY.

                (b)     In the event of any breach of the provisions of this Agreement or the
Transaction Documents, the non-breaching party will be entitled to seek equitable relief, including
in the form of injunctions and orders for specific performance, where the applicable legal standards
for such relief in such courts are met, in addition to all other remedies available to the non-
breaching party with respect thereto at law or in equity.

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        Section 9.10. Invalid Provisions. If any provision of this Agreement is held by a court of
competent jurisdiction or other Governmental Authority to be illegal, invalid or unenforceable
under any present or future Law, (a) such provision will be fully severable, (b) this Agreement will
be construed and enforced as if such illegal, invalid or unenforceable provision had never
comprised a part hereof, (c) the remaining provisions of this Agreement will remain in full force
and effect and will not be affected by the illegal, invalid or unenforceable provision or by its
severance herefrom, and (d) in lieu of such illegal, invalid or unenforceable provision, there will
be added automatically as a part of this Agreement a legal, valid and enforceable provision as
similar in terms to such illegal, invalid or unenforceable provision as may be possible.

        Section 9.11. Counterparts. This Agreement may be executed in any number of
counterparts, all of which will be deemed originals and constitute one and the same instrument.
This Agreement, and any amendment hereto, to the extent signed and delivered by means of a
facsimile machine or other electronic transmission, will be treated in all manner and respects as an
original agreement and will be considered to have the same binding legal effects as if it were the
original signed version thereof delivered in person.

        Section 9.12. Interpretation. The Parties have participated jointly in the negotiating and
drafting of this Agreement. If an ambiguity or a question of intent or interpretation arises, this
Agreement will be construed as if drafted jointly by the Parties, and no presumption or burden of
proof will arise favoring or disfavoring any Party by virtue of the authorship of any provisions of
this Agreement.

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                                            Schedule 8.3

                                        Specific Indemnities

1. Any Action, demand, or allegation brought against any of the Buyer Parties or their
manufacturers, distributors, customers, or end users, directly or indirectly by or on behalf of
Signify N.V., Philips Lighting Holding B.V., or any Affiliates thereof with respect to or related to
the Business, the Business Intellectual Property, or the products or services of the Business,
including with respect to the drafting, negotiation, or execution of any license, settlement or other
agreement with any of the foregoing and any upfront payments, license fees, maintenance fees,
milestone payments, royalty payments, product price increases, and other fees and amounts
payable thereunder or with respect thereto arising out of facts or circumstances that took place
prior to the Closing.

2. Any Liabilities arising out of facts or circumstances that took place prior to the Closing related
to breach, alleged breach, non-compliance, fees, tariffs, duties, penalties, or other similar payments
in respect of International Trade Laws or Customs and Import Laws, including but not limited to
with respect to misclassification of goods and duties associated therewith.

3. Any Liabilities arising out of or related to deficient and/or inaccurate safety markings or manuals
with respect to products of the Business prior to the Closing.

4. Any Liabilities arising out of or related to Burkhart, Van Ortwick or Seller’s sale of Excluded
Inventory pursuant to Section 5.4(a).

5. Any Liabilities arising out of or related to the Classification.




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